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                      Exhibit A
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                                                                         IIIIIIII                                             IIII
 (12)   United States Patent                                                (10) Patent No.:    US              11,040,023 B2
        Mosher et al.                                                       (45) Date of Patent:                   *Jun. 22, 2021

        ENALAPRIL FORMULATIONS                                         (52)    U.S. Cl.
                                                                               CPC           A61K 31/401 (2013.01); A61K 9/0053
        Applicant: Silvergate Pharmaceuticals, Inc.,                                     (2013.01); A61K 9/0095 (2013.01); A61K
                   Greenwood Village, CO (US)                                              47/12 (2013.01); A61K 47/26 (2013.01)
                                                                       (58)    Field of Classification Search
        Inventors: Gerold L. Mosher, Kansas City, MO
                                                                               CPC       A61K 31/401; A61K 47/12; A61K 47/26;
                   (US); David W. Miles, Kansas City,
                   MO (US)                                                                              A61K 9/0053; A61K 9/0095
                                                                               See application file for complete search history.
        Assignee: SILVERGATE
                  PHARMACEUTICALS, INC.,                               (56)                     References Cited
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        Notice:         Subject to any disclaimer, the term of this           4,374,829 A        2/1983 Harris et al.
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                        This patent is subject to a terminal dis-
                        claimer.                                                   FOREIGN PATENT DOCUMENTS

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 (22)   Filed:          Jan. 15, 2021

 (65)                     Prior Publication Data                                          OTHER PUBLICATIONS

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                 Related U.S. Application Data                                                  (Continued)
 (63)   Continuation of application No. 16/991,575, filed on
        Aug. 12, 2020, now Pat. No. 10,918,621, which is a             Primary Examiner — Savitha M Rao
        continuation of application No. 16/883,553, filed on           (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich
        May 26, 2020, now Pat. No. 10,799,476, which is a              & Rosati
        continuation of application No. 16/242,898, filed on
        Jan. 8, 2019, now Pat. No. 10,772,868, which is a              (57)                       ABSTRACT
                         (Continued)                                   Provided herein are stable enalapril oral liquid formulations.
                                                                       Also provided herein are methods of using enalapril oral
 (51)   Int. Cl.                                                       liquid formulations for the treatment of certain diseases
        A61K 31/401                 (2006.01)                          including hypertension, heart failure and asymptomatic left
        A61K 9/00                   (2006.01)                          ventricular dysfunction.
        A61K 47/26                  (2006.01)
        A61K 47/12                  (2006.01)                                         20 Claims, 2 Drawing Sheets

           • Enalapril diketopiperazine; 0 Enalaprilat

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 Sosnowska et al., "Stability of Extemporaneous Enalapril Maleate           Infants with Hypertension," J. Clin Pharmacol 41:1064-1074 (2001).
 Suspensions for Pediatric Use Prepared from Commercially Avail-            Williams et al, "Factors affecting growth in infants with single
 able Tablets," Acta Poloniae Pharmaceutica, vol. 66, No. 3, pp.            ventricle physiology: a report from the Pediatric Heart Network
 321-326 (2009).                                                            Infant Single Ventricle Trial," The Journal of Pediatrics (2011),
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 problem. International Journal of Pharmaceutics (2005), 300(1-2),
 56-66. Database: CAPLUS.                                                   * cited by examiner
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                                                   FIG. 1
 • Enalapril diketopiperazine; 0 Enalaprilat

           0.6
     a.)                                                          0
     • 0.5
     5
    =.1 0.4                                    0
                                        o o
     •O 0.3
                                        0
      a.)
    t 0.2                 0
           0.1                          •
    O                    S              • go
                 3               3.5                    4             4.5           5
                                                       pH
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                                                          FIG. 2


 • Enalapril diketopiperazine; O Enalaprilat

                               4.0
  % w/w of enalapril maleate




                               3.5
                                                                        O
                               3.0

                               2.5

                               2.0                8 OO
                               1.5



                               0.5

                               0.0
                                     3      3.5              4              4.5            5
                                                            pH
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                              1                                                                     2
             ENALAPRIL FORMULATIONS


           CROSS-REFERENCE OF RELATED
                  APPLICATIONS                                   5


    This application is a continuation of U.S. patent applica-
 tion Ser. No. 16/991,575, filed Aug. 12, 2020 which is a
                                                                                                              O
 continuation of Ser. No. 16/883,553, filed May 26, 2020                                                          HO
                                                                 10
 which is a continuation of U.S. patent application Ser. No.                                     Enalapril
 16/242,898, filed Jan. 8, 2019, which is a continuation of                                HO
 Ser. No. 16/177,159, filed Oct. 31, 2018, which is a con-
 tinuation of U.S. patent application Ser. No. 16/003,994,
 filed Jun. 8, 2018 (now U.S. Pat. No. 10,154,987, issued        15

 Dec. 18, 2018), which is a continuation of U.S. patent                                                       O           OH
 application Ser. No. 15/802,341, filed Nov. 2, 2017 (now                                                         O
 U.S. Pat. No. 10,039,745, issued Aug. 7, 2018), which is a                                     Enalapritat
 continuation of U.S. patent application Ser. No. 15/613,622,    20
 filed Jun. 5, 2017 (now U.S. Pat. No. 9,808,442, issued Nov.            Enalapril is currently administered in the form of oral
 7, 2017), which is a continuation of U.S. patent application         tablets, (e.g., Vasotec®) or in the form of liquid formulations
 Ser. No. 15/081,603, filed Mar. 25, 2016 (now U.S. Pat. No.          obtained by reconstitution of enalapril powder formulations.
 9,669,008, issued Jun. 6, 2017), which claims the benefit of         In addition to the treatment of hypertension, enalapril tablets
                                                                 25
 U.S. Provisional Patent Application No. 62/310,198, filed            have been used for symptomatic congestive heart failure,
 Mar. 18, 2016, all of which are incorporated herein by               and asymptomatic left ventricular dysfunction.
 reference in their entirety.
                                                                                  SUMMARY OF THE INVENTION
                                                                 30
          BACKGROUND OF THE INVENTION                                 Provided herein are enalapril oral liquid formulations. In
                                                                   one aspect, the enalapril oral liquid formulation, comprises
    Hypertension, or high blood pressure, is a serious health      (i) enalapril or a pharmaceutically acceptable salt or solvate
 issue in many countries. According to the National Heart          thereof; (ii) a sweetener that is sucralose (iii) a buffer
 Blood and Lung Institute, it is thought that about 1 in 3 35 comprising citric acid; (iv) a preservative that is sodium
 adults in the United States alone have hypertension. Left         benzoate; and (v) water; wherein the pH of the formulation
 unchecked, hypertension is considered a substantial risk          is less than about 3.5; and wherein the formulation is stable
 factor for cardiovascular and other diseases including coro-      at about 5±3° C. for at least 12 months.
 nary heart disease, myocardial infarction, congestive heart          In some embodiments, the enalapril is enalapril maleate.
 failure, stroke and kidney failure. Hypertension is classified 40 In some embodiments, the formulation further comprises a
 as primary (essential) hypertension or secondary hyperten-        flavoring agent. In some embodiments, the buffer in the
 sion. Primary hypertension has no known cause and may be          formulation further comprises sodium citrate dihydrate. In
 related to a number of environmental, lifestyle and genetic       some embodiments, the amount of enalapril or a pharma-
                                                                   ceutically acceptable salt or solvate thereof is about 0.6 to
 factors such as stress, obesity, smoking, inactivity and
                                                                45 about 1.2 mg/ml. In some embodiments, the amount of
 sodium intake. Secondary hypertension can be caused by
                                                                   sucralose is about 0.5 to about 0.9 mg/ml. In some embodi-
 drug or surgical interventions, or by abnormalities in the
                                                                   ments, the amount of citric acid in the buffer is about 0.8 to
 renal, cardiovascular or endocrine system.                        about 3.5 mg/ml. In some embodiments, the amount of
    A number of antihypertensive drugs are available for           sodium citrate dihydrate in the buffer is about 0.1 to about
 treating hypertension. Various therapeutic classes of antihy- so 0.80 mg/ml. In some embodiments, the amount of the
 pertensive drugs include alpha-adrenergic blockers, beta-         sodium benzoate is about 0.2 to about 1.2 mg/ml. In some
 adrenergic blockers, calcium-channel blockers, hypoten-           embodiments, the amount of enalapril or a pharmaceutically
 sives, mineralcorticoid antagonists, central alpha-agonists,      acceptable salt or solvate thereof is about 10 to about 25%
 diuretics and rennin-angiotensin-aldosterone inhibitors           (w/w of solids). In some embodiments, the amount of
 which include angiotensin II receptor antagonists (ARB) and 55 sucralose is about 8 to about 18% (w/w of solids). In some
 angiotensin-converting enzyme (ACE) inhibitors. Angio-            embodiments, the amount of citric acid in the buffer is about
 tensin-converting enzyme (ACE) inhibitors inhibit angio-          17  to about 47% (w/w of solids). In some embodiments, the
 tensin-converting enzyme (ACE), a peptydyl dipeptidase            amount of sodium citrate dihydrate in the buffer is about 1
                                                                   to about 11% (w/w of solids). In some embodiments, the
 that catalyzes angiotension I to angiotension II, a potent
                                                                60 amount of sodium benzoate is about 12 to about 25% (w/w
 vasoconstrictor involved in regulating blood pressure.
                                                                   of solids). In some embodiments, the pH of the formulation
    Enalapril is a prodrug belonging to the angiotensin-           is between about 3 and about 3.5. In some embodiments, the
 converting enzyme (ACE) inhibitor of medications. It is           pH of the formulation is about 3.3. In some embodiments,
 rapidly hydrolyzed in the liver to enalaprilat following oral     the citrate concentration in the buffer is about 5 mM to about
 administration. Enalaprilat acts as a potent inhibitor of ACE. 65 20 mM. In some embodiments, the citrate concentration in
 The structural formulae of enalapril and enalaprilat are as       the buffer is about 10 mM. In some embodiments, the
 follows:                                                          formulation is stable at about 5±3° C. for at least 18 months.
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 In some embodiments, the formulation is stable at about            lation is stable at about 5±3° C. for at least 12 months. In
 5±3° C. for at least 24 months. In some embodiments, the           some embodiments, the formulation does not contain man-
 formulation does not contain mannitol. In some embodi-             nitol. In some embodiments, the formulation does not con-
 ments, the formulation does not contain silicon dioxide.           tain silicon dioxide.
    In one aspect, the enalapril oral liquid formulation, com- 5       In some embodiments, the hypertension is primary (es-
 prises (i) about 1 mg/ml enalapril maleate; (ii) about 0.70        sential) hypertension. In some embodiments, the hyperten-
 mg/ml of a sweetener that is sucralose; (iii) a buffer com-        sion is secondary hypertension. In some embodiments, the
 prising about 1.82 mg/ml citric acid; (iv) about 1 mg/ml of        subject has blood pressure values greater than or equal to
 a preservative that is sodium benzoate; and (v) water;             140/90 mmm Hg. In some embodiments, the subject is an
 wherein the pH of the formulation is less than about 3.5; and 10 adult. In some embodiments, the subject is elderly. In some
 wherein the formulation is stable at about 5±3° C. for at least    embodiments, the subject is a child. In some embodiments,
 12 months.                                                         the formulation is administered to the subject in a fasted
    In some embodiments, the formulation further comprises          state. In some embodiments, the formulation is administered
 a flavoring agent. In some embodiments, the buffer further         to the subject in a fed state. In some embodiments, the
 comprises about 0.15 mg/mL sodium citrate dihydrate. In 15 formulation is further administered in combination with an
 some embodiments, the pH of the formulation is between             agent selected from the group consisting of diuretics, beta
 about 3 and about 3.5. In some embodiments, the pH of the          blockers, alpha blockers, mixed alpha and beta blockers,
 formulation is about 3.3. In some embodiments, the citrate         calcium channel blockers, angiotensin II receptor antago-
 concentration in the buffer is about 5 mM to about 20 mM.          nists, ACE inhibitors, aldosterone antagonists, and alpha-2
 In some embodiments, the citrate concentration in the buffer 20 agonists.
 is about 10 mM. In some embodiments, the formulation is               Also provided herein are methods of treating prehyper-
 stable at about 5±3° C. for at least 18 months. In some            tension in a subject comprising administering to that subject
 embodiments, the formulation is stable at about 5±3° C. for        a therapeutically effective amount of enalapril oral liquid
 at least 24 months. In some embodiments, the formulation           formulation comprising (i) about 1 mg/ml enalapril maleate;
 does not contain mannitol. In some embodiments, the for- 25 (ii) about 0.7 mg/ml of a sweetener that is sucralose; (ii) a
 mulation does not contain silicon dioxide.                         buffer comprising about 1.82 mg/ml citric acid and about
    In one aspect, the enalapril oral liquid formulation com-       0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of
 prises (i) about 19.3% (w/w of solids) enalapril maleate; (ii)     a preservative that is sodium benzoate; and (v) water;
 about 13.5% (w/w of solids) of a sweetener that is sucralose;      wherein the pH of the formulation is less than about 3.5; and
 (iii) a buffer comprising about 35.2% (w/w of solids) citric 30 wherein the formulation is stable at about 5±3° C. for at least
 acid; (iv) about 19.3% (w/w of solids) of a preservative that      12 months. In some embodiments, the formulation does not
 is sodium benzoate; and (v) water; wherein the pH of the           contain mannitol. In some embodiments, the formulation
 formulation is less than about 3.5; and wherein the formu-         does not contain silicon dioxide.
 lation is stable at about 5±3° C. for at least 12 months.             In some embodiments, the subject has blood pressure
    In some embodiments, the formulation further comprises 35 values of about 120-139/80-89 mm Hg.
 a flavoring agent. In some embodiments, the buffer further            Also provided herein are methods of treating heart failure
 comprises about 2.9% (w/w of solids) sodium citrate dihy-          in a subject comprising administering to that subject a
 drate. In some embodiments, the pH of the formulation is           therapeutically effective amount of enalapril oral liquid
 between about 3 and about 3.5. In some embodiments, the            formulation comprising (i) about 1 mg/ml enalapril maleate;
 pH of the formulation is about 3.3. In some embodiments, 40 (ii) about 0.70 mg/ml of a sweetener that is sucralose; (iii)
 the citrate concentration in the buffer is about 5 mM to about     a buffer comprising about 1.82 mg/ml citric acid and about
 20 mM. In some embodiments, the citrate concentration in           0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of
 the buffer is about 10 mM. In some embodiments, the                a preservative that is sodium benzoate; and (v) water;
 formulation is stable at about 5±3° C. for at least 18 months.     wherein the pH of the formulation is less than about 3.5; and
 In some embodiments, the formulation is stable at about 45 wherein the formulation is stable at about 5±3° C. for at least
 5±3° C. for at least 24 months. In some embodiments, the           12 months. In some embodiments, the formulation does not
 formulation does not contain mannitol. In some embodi-             contain mannitol. In some embodiments, the formulation
 ments, the formulation does not contain silicon dioxide.           does not contain silicon dioxide.
    In one aspect, the enalapril oral liquid formulation con-          Also provided herein are methods of treating left yen-
 sists essentially of (i) about 1 mg/m enalapril maleate; (ii) 50 tricular dysfunction in a subject comprising administering to
 about 0.70 mg/ml of a sweetener that is sucralose; (iii) a         that subject a therapeutically effective amount of enalapril
 buffer comprising about 1.82 mg/ml citric acid and about           oral liquid formulation comprising (i) about 1 mg/ml enal-
 0.15 mg/ml sodium citrate dihydrate; (iv) about 1 mg/ml of         april maleate; (ii) about 0.7 mg/ml of a sweetener that is
 a preservative that is sodium benzoate; (v) a flavoring agent;     sucralose; (iii) a buffer comprising about 1.82 mg/ml citric
 and (vi) water; wherein the pH of the formulation is less than 55 acid and about 0.15 mg/ml sodium citrate dihydrate; (iv)
 about 3.5 adjusted by sodium hydroxide or hydrochloric             about 1 mg/ml of a preservative that is sodium benzoate; and
 acid; and wherein the formulation is stable at about 5±3° C.       (v) water; wherein the pH of the formulation is less than
 for at least 12 months.                                            about 3.5; and wherein the formulation is stable at about
    Also provided herein are methods of treating hypertension       5±3° C. for at least 12 months. In some embodiments, the
 in a subject comprising administering to that subject a 60 formulation does not contain mannitol. In some embodi-
 therapeutically effective amount of enalapril oral liquid          ments, the formulation does not contain silicon dioxide.
 formulation comprising (i) about 1 mg/ml enalapril maleate;
 (ii) about 0.7 mg/ml sucralose; (iii) a buffer comprising                      INCORPORATION BY REFERENCE
 about 1.82 mg/ml citric acid and about 0.15 mg/ml sodium
 citrate dihydrate; (iv) about 1 mg/ml of a preservative that is 65    All publications, patents, and patent applications men-
 sodium benzoate; and (v) water; wherein the pH of the              tioned in this specification are herein incorporated by ref-
 formulation is less than about 3.5; and wherein the formu-         erence to the same extent as if each individual publication,
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  patent, or patent application was specifically and individu-        powder compositions are an improvement over crushing
  ally indicated to be incorporated by reference.                     tablets, they still require a step of mixing with a diluent. The
                                                                      stable enalapril oral liquid formulations described herein
        BRIEF DESCRIPTION OF THE DRAWINGS                             require no extra steps or manipulation prior to administra-
                                                                 5    tion to a subject. Further, the stable enalapril oral liquid
     The novel features of the invention are set forth with           formulations described herein do not require or need man-
  particularity in the appended claims. A better understanding        nitol or colloidal silicon dioxide for stability and dissolution.
  of the features and advantages of the present invention will           The present embodiments described herein provide a safe
  be obtained by reference to the following detailed descrip-         and effective oral administration of enalapril for the treat-
  tion that sets forth illustrative embodiments, in which the 10      ment of hypertension and other disorders. In particular, the
  principles of the invention are utilized, and the accompany-        embodiments provide stable enalapril oral liquid formula-
  ing drawings of which:                                              tions as well as alternatively enalapril powder formulations
     FIG. 1: Effect of pH on degradant formation after 8 weeks        for oral liquid administration.
  of storage of various enalapril solution formulations at 5° C.         As used herein, "enalapril" refers to enalapril base, its
     FIG. 2: Effect of pH on degradant formation after 8 weeks 15     salt, or solvate or derivative or isomer or polymorph thereof.
  of storage of various enalapril solution formulations at room       Suitable compounds include the free base, the organic and
  temperature (19-22° C.).                                            inorganic salts, isomers, isomer salts, solvates, polymorphs,
                                                                      complexes etc. U.S. Pat. Nos. 4,374,829; 4,472,380 and
            DETAILED DESCRIPTION OF THE                               4,510,083 disclose exemplary methods in the preparation of
                     INVENTION                                   20   enalapril. In some embodiments, the enalapril used in the
                                                                      formulations described herein is an enalapril salt. In some
     Provided herein are stable enalapril oral liquid formula-        instances, the enalapril salt is enalapril maleate. In other
  tions. Also provided herein are stable enalapril powder             instances, the enalapril salt is in the form of enalapril
  formulations for reconstitution for oral liquid administra-         sodium.
  tion. These enalapril formulations described herein are use- 25        Other ACE inhibitors are contemplated in the formula-
  ful for the treatment of hypertension, prehypertension, heart       tions within and include but are not limited to quinapril,
  failure as well as ventricular dysfunction. The formulations        indolapril, ramipril, perindopril, lisinopril, benazepril, imi-
  are advantageous over conventional solid dosage adminis-            dapril, zofenopril, trandolapril, fosinopril, captopril, and
  tration of enalapril ranging from ease of administration,           their salts, solvates, derivatives, polymorphs, or complexes,
  accuracy of dosing, accessibility to additional patient popu- 30    thereof.
  lations such as to children and the elderly, and an increased       Enalapril Oral Liquid Formulations
  patient compliance to medication.                                      Oral liquids include, but are not limited to, solutions (both
     It is generally known that certain segments of the popu-         aqueous and nonaqueous), suspensions, emulsions, syrups,
  lation have difficulty ingesting and swallowing solid oral          slurries, juices, elixirs, dispersions, and the like. It is envi-
  dosage forms such as tablets and capsules. As many as a 35          sioned that solution/suspensions are also included where
  quarter of the total population has this difficulty. Often, this    certain components described herein are in a solution while
  leads to non-compliance with the recommended medical                other components are in a suspension.
  therapy with the solid dosage forms, thereby resulting in              In one aspect, the enalapril liquid formulations described
  rending the therapy ineffective. Further, solid dosage forms        herein comprise enalapril, a preservative, a sweetening
  are not recommended for children or elderly due to 40               agent, a buffer, and water. In one embodiment, the sweet-
  increased risk in choking.                                          ening agent is sucralose. In one embodiment, the sweetening
     Furthermore, the dose of enalapril to be given to children       agent is xylitol. In one embodiment, the sweetening agent is
  is calculated according to the child's weight. When the             not mannitol. In another embodiment, the preservative is
  calculated dose is something other than the amount present          sodium benzoate. In some embodiments, the preservative is
  in one or more intact solid dosage forms, the solid dosage 45       a paraben. In some embodiments, the preservative is a
  form must be divided to provide the correct dose. This leads        mixture of parabens. In yet another embodiment, the buffer
  to inaccurate dosing when solid dosages forms, such as              comprises citric acid. In some embodiments, the buffer
  tablets, are compounded to prepare other formulations for           further comprises sodium citrate. In one aspect, the enalapril
  children.                                                           liquid formulation described herein comprises enalapril,
     For enalapril, one solution to overcoming the use of the so      sucralose, sodium benzoate, citric acid, sodium citrate, and
  tablet form is for a compounding pharmacist to pulverize            water. In some embodiments, the enalapril liquid formula-
  and crush the enalapril tablet(s) into a powder via mortar and      tion herein further comprises a flavoring agent. In some
  pestle and reconstitute the powder in some liquid form.             embodiments, the enalapril liquid formulation is not
  However forming a enalapril oral liquid in this fashion has         obtained from crushing enalapril tablet and dissolving the
  significant drawbacks including large variability in the 55         powder in a suitable vehicle for oral administration. In some
  actual dosage, incomplete solubilizing of the enalapril tablet      embodiments, the enalapril liquid formulation does not
  in the liquid, rapid instability, inconsistent formulation          contain silicon dioxide. In some embodiments, the enalapril
  methods per compounding pharmacy, and a number of other             liquid formulation does not contain mannitol. In some
  potential issues. The crushed tablet liquid formulation may         embodiments, the enalapril liquid formulation does not
  also be potentially unsafe due to contamination with residual 60    contain lactose. In some embodiments, the enalapril liquid
  drugs and other substances from the mortar and pestle or            formulation does not contain magnesium stearate. In some
  other crushing agent.                                               embodiments, the enalapril liquid formulation does not
     Alternatively, enalapril is formulated as enalapril powder       contain sodium bicarbonate. In some embodiments, the
  compositions for reconstitution as oral liquids as described        enalapril liquid formulation does not contain iron oxides.
  in U.S. Pat. No. 8,568,747. The powder compositions as 65              In some embodiments, enalapril or a pharmaceutically
  described in this patent require mannitol and colloidal             acceptable salt thereof, is present in about 0.6 to about 1.2
  silicon dioxide for stability and dissolution. While these          mg/ml in the oral liquid formulation. In other embodiments,
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  enalapril or a pharmaceutically acceptable salt thereof, is           about 22% w/w, about 22.5% w/w, about 23% w/w, about
  present in about 0.6 mg/ml, about 0.61 mg/ml, about 0.62              23.5% w/w, about 24% w/w, about 24.5% w/w, about 25%
  mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65                 w/w, about 25.5% w/w, about 26% w/w, about 26.5% w/w,
  mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68                 about 27% w/w, about 27.5% w/w, about 28% w/w, about
  mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71             5    28.5% w/w, about 29% w/w, about 29.5% w/w, or about
  mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74                 30% w/w of the solids in the oral liquid formulation. In some
  mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77                 embodiments, enalapril or a pharmaceutically acceptable
  mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8                  salt thereof, is present in about 10% w/w to about 25% w/w
  mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about 0.83                 of the solids in the oral liquid formulation. In some embodi-
  mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86            io   ments, enalapril is present in about 10.5% w/w of the solids
  mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89                 in the oral liquid formulation. In some embodiments, enal-
  mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92                  april is present in about 15% w/w of the solids in the oral
  mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95                 liquid formulation. In some embodiments, enalapril is pres-
  mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98                 ent in about 18.2% w/w of the solids in the oral liquid
  mg/ml, about 0.99 mg/ml, about 1 mg/ml, about 1.01 mg/ml,        15   formulation. In some embodiments, enalapril maleate is
  about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,                present in about 13.5% w/w of the solids in the oral liquid
  about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml,                 formulation. In some embodiments, enalapril maleate is
  about 1.08 mg/ml, about 1.09 mg/ml, about 1.1 mg/ml,                  present in about 19.3% w/w of the solids in the oral liquid
  about 1.11 mg/ml, about 1.12, mg/ml, about 1.13 mg/ml,                formulation. In some embodiments, enalapril maleate is
  about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml,            20   present in about 24.5% w/w of the solids in the oral liquid
  about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or              formulation.
  about 1.2 mg/ml in the liquid oral formulation. In some                  In some embodiments, enalapril or a pharmaceutically
  embodiments, enalapril is present in about 0.76 mg/ml in the          acceptable salt thereof, is present in about 0.1% w/w to
  oral liquid formulation. In some embodiments, enalapril               about 1% w/w of the solids in the oral liquid formulation. In
  maleate is present in about 1 mg/ml in the oral liquid           25   other embodiments, enalapril or a pharmaceutically accept-
  formulation. In some embodiments, the formulation con-                able salt thereof, is present in about 0.1% w/w, about 0.15%
  tains enalapril or another pharmaceutically acceptable salt of        w/w, about 0.2% w/w, about 0.25% w/w, about 0.3% w/w,
  enalapril in a molar concentration equivalent to 1 mg/mL              about 0.35% w/w, about 0.4% w/w, about 0.45% w/w, about
  enalapril maleate. In some embodiments, the formulation               0.5% w/w, about 0.55% w/w, about 0.6% w/w, about 0.65%
  contains enalapril or another pharmaceutically acceptable        30   w/w, about 0.7% w/w, about 0.75% w/w, about 0.8% w/w,
  salt of enalapril in a molar concentration equivalent to 0.76         about 0.85% w/w, about 0.9% w/w, about 0.95% w/w, or
  mg/mL enalapril.                                                      about 1% w/w of the solids in the oral liquid formulation. In
     In some embodiments, enalapril or a pharmaceutically               some embodiments, enalapril or a pharmaceutically accept-
  acceptable salt thereof, is present in about 0.5% w/w to              able salt thereof, is present in about 0.4% w/w to about 0.7%
  about 30% w/w of the solids in the oral liquid formulation.      35   w/w of the solids in the oral liquid formulation. In some
  In other embodiments, enalapril or a pharmaceutically                 embodiments, enalapril is present in about 0.4% w/w of the
  acceptable salt thereof, is present in about 0.5% w/w, about          solids in the oral liquid formulation. In some embodiments,
  1% w/w, about 1.5% w/w, about 2% w/w, about 2.5% w/w,                 enalapril is present in about 0.5% w/w of the solids in the
  about 3% w/w, about 3.5% w/w, about 4% w/w, about 4.5%                oral liquid formulation. In some embodiments, enalapril
  w/w, about 5% w/w, about 5.5% w/w, about 6% w/w, about           40   maleate is present in about 0.5% w/w of the solids in the oral
  6.5% w/w, about 7% w/w, about 7.5% w/w, about 8% w/w,                 liquid formulation. In some embodiments, enalapril maleate
  about 8.5% w/w, about 9% w/w, about 9.5% w/w, about 10%               is present in about 0.6% w/w of the solids in the oral liquid
  w/w, about 10.5% w/w, about 11% w/w, about 11.5% w/w,                 formulation.
  about 12% w/w, about 12.5% w/w, about 13% w/w, about                  Sweetener in the Enalapril Oral Liquid Formulations
  13.5% w/w, about 14% w/w, about 14.5% w/w, about 15%             45      Sweeteners or sweetening agents include any compounds
  w/w, about 15.1% w/w, about 15.2% w/w, about 15.3% w/w,               that provide a sweet taste. This includes natural and syn-
  about 15.4% w/w, about 15.5% w/w, about 15.6% w/w,                    thetic sugars, natural and artificial sweeteners, natural
  about 15.7% w/w, about 15.8% w/w, about 15.9% w/w,                    extracts and any material that initiates a sweet sensation in
  about 16% w/w, about 16.1% w/w, about 16.2% w/w, about                a subject. In some embodiments, a solid/powder sweetener
  16.3% w/w, about 16.4% w/w, about 16.5% w/w, about               50   is used in the oral liquid formulation described herein. In
  16.6% w/w, about 16.7% w/w, about 16.8% w/w, about                    other embodiments, a liquid sweetener is used in the oral
  16.9% w/w, about 17% w/w, about 17.1% w/w, about 17.2%                liquid formulation described herein.
  w/w, about 17.3% w/w, about 17.4% w/w, about 17.5% w/w,                  Sugars illustratively include glucose, fructose, sucrose,
  about 17.6% w/w, about 17.7% w/w, about 17.8% w/w,                    xylitol, tagatose, sucralose, maltitol, isomaltulose, IsomaltTM
  about 17.9% w/w, about 18% w/w, about 18.1% w/w, about           55   (hydrogenated isomaltulose), lactitol, sorbitol, erythritol,
  18.2% w/w, about 18.3% w/w, about 18.4% w/w, about                    trehalose, maltodextrin, polydextrose, and the like. Other
  18.5% w/w, about 18.6% w/w, about 18.7% w/w, about                    sweeteners illustratively include glycerin, inulin, erythritol,
  18.8% w/w, about 18.9% w/w, about 19% w/w, about 19.1%                maltol, acesulfame and salts thereof, e.g., acesulfame potas-
  w/w, about 19.2% w/w, about 19.3% w/w, about 19.4% w/w,               sium, alitame, aspartame, neotame, sodium cyclamate, sac-
  about 19.5% w/w, about 19.6% w/w, about 19.7% w/w,               60   charin and salts thereof, e.g., saccharin sodium or saccharin
  about 19.8% w/w, about 19.9% w/w, about 20% w/w, about                calcium, neohesperidin dihydrochalcone, stevioside, thau-
  20.1% w/w, about 20.2% w/w, about 20.3% w/w, about                    matin, and the like. Sweeteners can be used in the form of
  20.4% w/w, about 20.5% w/w, about 20.6% w/w, about                    crude or refined products such as hydrogenated starch
  20.7% w/w, about 20.8% w/w, about 20.9% w/w, about 21%                hydrolysates, maltitol syrup, high fructose corn syrup, etc.,
  w/w, about 21.1% w/w, about 21.2% w/w, about 21.3% w/w,          65   and as branded products, e.g., Sweet AmTM liquid (Product
  about 21.4% w/w, about 21.5% w/w, about 21.6% w/w,                    Code 918.003-propylene glycol, ethyl alcohol, and propri-
  about 21.7% w/w, about 21.8% w/w, about 21.9% w/w,                    etary artificial flavor combination, Flavors of North
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  America) and Sweet AmTM powder (Product Code 918.005-               In some embodiments, sucralose is present in about 13.5%
  maltodextrin, sorbitol, and fructose combination and Prod-          w/w of the solids in the oral liquid formulation. In some
  uct Code 918.010-water, propylene glycol, sorbitol, fruc-           embodiments, sucralose is present in about 16.5% w/w of
  tose, and proprietary natural and artificial flavor                 the solids in the oral liquid formulation.
  combination, Flavors of North America), ProSweetTM             5       In some embodiments, the enalapril oral liquid formula-
  (1-10% proprietary plant/vegetable extract and 90-99% dex-          tion described herein comprises xylitol. In some embodi-
  trose combination, Viriginia Dare), MaltisweetTM (maltitol          ments, xylitol is present in about 140 mg/ml to about 210
  solution, Ingredion), SorboTM (sorbitol and sorbitol/xylitol        mg/ml in the oral liquid formulation.
  solution, SPI Polyols), InvertoseTM (high fructose corn                In some embodiments, xylitol is present in about 140
  syrup, Ingredion), Rebalance M60 and X60 (sucralose and        10   mg/ml, about 145 mg/ml, about 150 mg/ml, about 155
  maltodextrin, Tate and Lyle), and Ora-SweetTM sugar-free            mg/ml, about 160 mg/ml, about 165 mg/ml, about 170
  flavored syrup (Paddock Laboratories, Inc.). Sweeteners can         mg/ml, about 175 mg/ml, about 180 mg/ml, about 185
  be used singly or in combinations of two or more. Suitable          mg/ml, about 190 mg/ml, about 195 mg/ml, about 200
  concentrations of different sweeteners can be selected based        mg/ml, about 205 mg/ml, or about 210 mg/ml of the oral
  on published information, manufacturers' data sheets and by    15   liquid formulation. In some embodiments, xylitol is present
  routine testing.                                                    in about 150 mg/ml in the oral liquid formulation. In some
     In some embodiments, the enalapril oral liquid formula-          embodiments, xylitol is present in about 200 mg/ml in the
  tion described herein comprises a sweetening agent. In some         oral liquid formulation.
  embodiments, the sweetening agent is sucralose. In some                In some embodiments, xylitol is present in about 80%
  embodiments, the sweetening agent is xylitol. In some          20   w/w to about 99% w/w of the solids in the oral liquid
  embodiments, the sweetener is not mannitol.                         formulation. In other embodiments, xylitol is present in
     In some embodiments, the enalapril oral liquid formula-          about 80% w/w, about 81% w/w, about 82% w/w, about 83%
  tion described herein comprises sucralose. In some embodi-          w/w, about 84% w/w, about 85% w/w, about 86% w/w,
  ments, sucralose is present in about 0.5 to about 0.9 mg/ml         about 87% w/w, about 88% w/w, about 89% w/w, about 90%
  in the oral liquid formulation.                                25   w/w, about 91% w/w, about 92% w/w, about 93% w/w,
     In other embodiments, sucralose is present in about 0.51         about 94% w/w, about 95% w/w, about 96% w/w, about 97%
  mg/ml, about 0.52 mg/ml, about 0.53 mg/ml, about 0.54               w/w, about 98% w/w, or about 99% w/w of the solids in the
  mg/ml, about 0.55 mg/ml, about 0.56 mg/ml, about 0.57               oral liquid formulation. In some embodiments, xylitol is
  mg/ml, about 0.58 mg/ml, about 0.59 mg/ml, about 0.60               present in about 96% w/w to about 98% w/w of the solids
  mg/ml, about 0.61 mg/ml, about 0.62 mg/ml, about 0.63          30   in the oral liquid formulation. In some embodiments, xylitol
  mg/ml, about 0.64 mg/ml, about 0.65 mg/ml, about 0.66               is present in about 96% w/w of the solids in the oral liquid
  mg/ml, about 0.67 mg/ml, about 0.68 mg/ml, about 0.69               formulation.
  mg/ml, about 0.70 mg/ml, about 0.71 mg/ml, about 0.72               Preservative in the Enalapril Oral Liquid Formulations
  mg/ml, about 0.73 mg/ml, about 0.74 mg/ml, about 0.75                  Preservatives include anti-microbials, anti-oxidants, and
  mg/ml, about 0.76 mg/ml, about 0.77 mg/ml, about 0.78          35   agents that enhance sterility. Exemplary preservatives
  mg/ml, about 0.79 mg/ml, about 0.80 mg/ml, about 0.81               include ascorbic acid, ascorbyl palmitate, BHA, BHT, citric
  mg/ml, about 0.82 mg/ml, about 0.83 mg/ml, about 0.84               acid, EDTA and its salts, erythorbic acid, fumaric acid, malic
  mg/ml, about 0.85 mg/ml, about 0.86 mg/ml, about 0.87               acid, propyl gallate, sodium ascorbate, sodium bisulfate,
  mg/ml, about 0.88 mg/ml, about 0.89 mg/ml, or about 0.90            sodium metabisulfite, sodium sulfite, parabens (such as
  mg/ml in the oral liquid formulation. In some embodiments,     40   methylparaben, ethylparaben, propylparaben, butylparaben
  sucralose is present in about 0.7 mg/ml in the oral liquid          and their salts), benzoic acid, sodium benzoate, potassium
  formulation.                                                        sorbate, vanillin, and the like.
     In some embodiments, sucralose is present in about 1%               In some embodiments, the enalapril oral liquid formula-
  w/w to about 30% w/w of the solids in the oral liquid               tion described herein comprises a preservative.
  formulation. In some embodiments, sucralose is present in      45      In some embodiments, the preservative is a paraben and
  about 1% w/w, about 1.5% w/w, about 2% w/w, about 2.5%              the sweetener is not a sugar (such as, but not limited to
  w/w, about 3% w/w, about 3.5% w/w, about 4% w/w, about              glucose, fructose, sucrose, lactose, maltose) or a sugar
  4.5% w/w, about 5% w/w, about 5.5% w/w, about 6% w/w,               alcohol (such as, but not limited to xylitol, mannitol, lactitol,
  about 6.5% w/w, about 7% w/w, about 7.5% w/w, about 8%              maltitol, sorbitol).
  w/w, about 8.5% w/w, about 9% w/w, about 9.5% w/w,             50      In some embodiments, the preservative is sodium benzo-
  about 10% w/w, about 10.5% w/w, about 11% w/w, about                ate.
  11.5% w/w, about 12% w/w, about 12.5% w/w, about 13%                   In some embodiments, modulation of the pH is desired to
  w/w, about 13.5% w/w, about 14% w/w, about 14.5% w/w,               provide the best antimicrobial activity of the preservative,
  about 15% w/w, about 15.5% w/w, about 16% w/w, about                sodium benzoate. In some embodiments, the antimicrobial
  16.5% w/w, about 17% w/w, about 17.5% w/w, about 18%           55   activity of sodium benzoate drops when the pH is increased
  w/w, about 18.5% w/w, about 19% w/w, about 19.5% w/w,               above 5.
  about 20% w/w, about 20.5% w/w, about 21% w/w, about                   In some embodiments, the pH of the enalapril oral liquid
  21.5% w/w, about 22% w/w, about 22.5% w/w, about 23%                formulation described herein is less than about 4. In some
  w/w, about 23.5% w/w, about 24% w/w, about 24.5% w/w,               embodiments, the pH of the enalapril oral liquid formulation
  about 25% w/w, about 25.5% w/w, about 26% w/w, about           60   described herein is less than about 3.5. In some embodi-
  26.5% w/w, about 27% w/w, about 27.5% w/w, about 28%                ments, the pH of the enalapril oral liquid formulation
  w/w, about 28.5% w/w, about 29% w/w, about 29.5% w/w,               described herein is between about 3 and about 4. In some
  or about 30% w/w of the solids in the oral liquid formula-          embodiments, the pH of the enalapril oral liquid formulation
  tion. In some embodiments, sucralose is present in about 8%         described herein is between about 3 and about 3.5. In some
  w/w to about 18% w/w of the solids in the oral liquid          65   embodiments, the pH of the enalapril oral liquid formulation
  formulation. In some embodiments, sucralose is present in           described herein is about 3, about 3.1, about 3.2, about 3.3,
  about 9.5% w/w of the solids in the oral liquid formulation.        about 3.4, about 3.5, about 3.6, about 3.7, about 3.8, about
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  3.9, or about 4. In some embodiments, the pH of the                 about 19.4% w/w, about 19.5% w/w, about 19.6% w/w,
  enalapril oral liquid formulation described herein is about         about 19.7% w/w, about 19.8% w/w, about 19.9% w/w,
  3.3.                                                                about 20% w/w, about 20.1% w/w, about 20.2% w/w, about
     In some embodiments, sodium benzoate is present in               20.3% w/w, about 20.4% w/w, about 20.5% w/w, about
  about 0.2 to about 1.2 mg/ml in the oral liquid formulation.   5    20.6% w/w, about 20.7% w/w, about 20.8% w/w, about
  In other embodiments, sodium benzoate is present in about           20.9% w/w, about 21% w/w, about 21.1% w/w, about 21.2%
  0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml, about 0.23           w/w, about 21.3% w/w, about 21.4% w/w, about 21.5% w/w,
  mg/ml, about 0.24 mg/ml, about 0.25 mg/ml, about 0.26               about 21.6% w/w, about 21.7% w/w, about 21.8% w/w,
  mg/ml, about 0.27 mg/ml, about 0.28 mg/ml, about 0.29               about 21.9% w/w, about 22% w/w, about 22.5% w/w, about
  mg/ml, about 0.3 mg/ml, about 0.31 mg/ml, about 0.32           10   23% w/w, about 23.5% w/w, about 24% w/w, about 24.5%
  mg/ml, about 0.33 mg/ml, about 0.34 mg/ml, about 0.35               w/w, about 25% w/w, about 25.5% w/w, about 26% w/w,
  mg/ml, about 0.36 mg/ml, about 0.37 mg/ml, about 0.38               about 26.5% w/w, about 27% w/w, about 27.5% w/w, about
  mg/ml, about 0.39 mg/ml, about 0.4 mg/ml, about 0.41                28% w/w, about 28.5% w/w, about 29% w/w, about 29.5%
  mg/ml, about 0.42 mg/ml, about 0.43 mg/ml, about 0.44               w/w, or about 30% w/w of the solids in the oral liquid
  mg/ml, about 0.45 mg/ml, about 0.46 mg/ml, about 0.47          15   formulation. In some embodiments, sodium benzoate is
  mg/ml, about 0.48 mg/ml, about 0.49 mg/ml, about 0.5                present in about 10% w/w to about 25% w/w of the solids
  mg/ml, about 0.51 mg/ml, about 0.52 mg/ml, about 0.53               in the oral liquid formulation. In some embodiments, sodium
  mg/ml, about 0.54 mg/ml, about 0.55 mg/ml, about 0.56               benzoate is present in about 13.5% w/w of the solids in the
  mg/ml, about 0.57 mg/ml, about 0.58 mg/ml, about 0.59               oral liquid formulation. In some embodiments, sodium ben-
  mg/ml, about 0.6 mg/ml, about 0.61 mg/ml, about 0.62           2o   zoate is present in about 19.3% w/w of the solids in the oral
  mg/ml, about 0.63 mg/ml, about 0.64 mg/ml, about 0.65               liquid formulation. In some embodiments, sodium benzoate
  mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about 0.68               is present in about 23.5% w/w of the solids in the oral liquid
  mg/ml, about 0.69 mg/ml, about 0.7 mg/ml, about 0.71                formulation.
  mg/ml, about 0.72 mg/ml, about 0.73 mg/ml, about 0.74                  In some embodiments, sodium benzoate is present in
  mg/ml, about 0.75 mg/ml, about 0.76 mg/ml, about 0.77          25   about 0.1% w/w to about 1% w/w of the solids in the oral
  mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8                liquid formulation. In other embodiments, sodium benzoate
  mg/ml, about 0.81 mg/ml, about 0.82 mg/ml, about 0.83               is present in about 0.1% w/w, about 0.15% w/w, about 0.2%
  mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86               w/w, about 0.25% w/w, about 0.3% w/w, about 0.35% w/w,
  mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89               about 0.4% w/w, about 0.45% w/w, about 0.5% w/w, about
  mg/ml, about 0.9 mg/ml, about 0.91 mg/ml, about 0.92           30   0.55% w/w, about 0.6% w/w, about 0.65% w/w, about 0.7%
  mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95               w/w, about 0.75% w/w, about 0.8% w/w, about 0.85% w/w,
  mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98               about 0.9% w/w, about 0.95% w/w, or about 1% w/w of the
  mg/ml, about 0.99 mg/ml, about 1 mg/ml, about 1.01 mg/ml,           solids in the oral liquid formulation. In some embodiments,
  about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,              sodium benzoate is present in about 0.4% w/w to about 0.7%
  about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml,          35   w/w of the solids in the oral liquid formulation. In some
  about 1.08 mg/ml, about 1.09 mg/ml, about 1.1 mg/ml,                embodiments, sodium benzoate is present in about 0.45%
  about 1.11 mg/ml, about 1.12, mg/ml, about 1.13 mg/ml,              w/w of the solids in the oral liquid formulation. In some
  about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml,               embodiments, sodium benzoate is present in about 0.6%
  about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, or            w/w of the solids in the oral liquid formulation.
  about 1.2 mg/ml in the liquid oral formulation. In some        40      In some embodiments, sodium benzoate is present in an
  embodiments, sodium benzoate is present in about 1 mg/ml            amount sufficient to provide antimicrobial effectiveness to
  in the oral liquid formulation.                                     the enalapril oral liquid formulation described herein. (See
     In some embodiments, sodium benzoate is present in               Table G-1).
  about 1% w/w to about 30% w/w of the solids in the oral                In some embodiments, the preservative is a paraben. In
  liquid formulation. In other embodiments, sodium benzoate      45   some embodiments, the preservative is a mixture of para-
  is present in about 1% w/w, about 1.5% w/w, about 2% w/w,           bens. In some embodiments, the paraben or mixture of
  about 2.5% w/w, about 3% w/w, about 3.5% w/w, about 4%              parabens is present in about 0.1 mg/ml to about 2 mg/ml in
  w/w, about 4.5% w/w, about 5% w/w, about 5.5% w/w,                  the oral liquid formulation. In other embodiments, the
  about 6% w/w, about 6.5% w/w, about 7% w/w, about 7.5%              paraben or mixture of parabens is present in about 0.1
  w/w, about 8% w/w, about 8.5% w/w, about 9% w/w, about         so   mg/ml, about 0.2 mg/ml, about 0.3 mg/ml, about 0.4 mg/ml,
  9.5% w/w, about 10% w/w, about 10.5% w/w, about 11%                 about 0.5 mg/ml, about 0.6 mg/ml, about 0.7 mg/ml, about
  w/w, about 11.5% w/w, about 12% w/w, about 12.5% w/w,               0.8 mg/ml, about 0.9 mg/ml, about 1 mg/ml, about 1.1
  about 13% w/w, about 13.5% w/w, about 14% w/w, about                mg/ml, about 1.2 mg/ml, about 1.3 mg/ml, about 1.4 mg/ml,
  14.5% w/w, about 15% w/w, about 15.1% w/w, about 15.2%              or about 1.5 mg/ml, about 1.6 mg/ml, about 1.7 mg/ml,
  w/w, about 15.3% w/w, about 15.4% w/w, about 15.5% w/w,        55   about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg/ml in the
  about 15.6% w/w, about 15.7% w/w, about 15.8% w/w,                  liquid oral formulation. In some embodiments, the paraben
  about 15.9% w/w, about 16% w/w, about 16.1% w/w, about              or mixture of parabens is present in about 1.6 mg/ml to about
  16.2% w/w, about 16.3% w/w, about 16.4% w/w, about                  2 mg/ml in the oral liquid formulation. In some embodi-
  16.5% w/w, about 16.6% w/w, about 16.7% w/w, about                  ments, the paraben or mixture of parabens is present in about
  16.8% w/w, about 16.9% w/w, about 17% w/w, about 17.1%         60   1.6 mg/ml to about 1.8 mg/ml in the oral liquid formulation.
  w/w, about 17.2% w/w, about 17.3% w/w, about 17.4% w/w,             In some embodiments, the paraben or mixture of parabens is
  about 17.5% w/w, about 17.6% w/w, about 17.7% w/w,                  present in about 0.1 mg/ml to about 0.5 mg/ml in the oral
  about 17.8% w/w, about 17.9% w/w, about 18% w/w, about              liquid formulation.
  18.1% w/w, about 18.2% w/w, about 18.3% w/w, about                     In some embodiments, the paraben or mixture of parabens
  18.4% w/w, about 18.5% w/w, about 18.6% w/w, about             65   is present in about 2% w/w to about 30% w/w of the solids
  18.7% w/w, about 18.8% w/w, about 18.9% w/w, about 19%              in the oral liquid formulation. In other embodiments, the
  w/w, about 19.1% w/w, about 19.2% w/w, about 19.3% w/w,             paraben or mixture of parabens is present in about 2% w/w,
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  about 3% w/w, about 4% w/w, about 5% w/w, about 6%                     ments, the sodium citrate is monosodium citrate. In some
  w/w, about 7% w/w, about 8% w/w, about 9% w/w, about                   embodiments, the sodium citrate is disodium citrate. In some
  10% w/w, about 11% w/w, about 12% w/w, about 13% w/w,                  embodiments, the sodium citrate is trisodium citrate.
  about 14% w/w, about 15% w/w, about 16% w/w, about 17%                    In some embodiments, the buffer in the enalapril oral
  w/w, about 18% w/w, about 19% w/w, about 20% w/w,                 5    liquid formulation described herein comprises phosphoric
  about 21% w/w, about 22% w/w, about 23% w/w, about 24%                 acid. In some embodiments, the buffer in the enalapril oral
  w/w, about 25% w/w, about 26% w/w, about 27% w/w,                      liquid formulation described herein comprises sodium phos-
  about 28% w/w, about 29% w/w, or about 30% w/w of the                  phate.
  solids in the oral liquid formulation. In some embodiments,               In some embodiments, modulation of the pH is desired to
  the paraben or mixture of parabens is present in about 2%         10
                                                                         provide a lowered impurity profile. In the exemplary stabil-
  w/w to about 3% w/w of the solids in the oral liquid                   ity studies, the main enalapril degradants are enalapril
  formulation. In some embodiments, the paraben or mixture
                                                                         diketopiperazine and enalaprilat:
  of parabens is present in about 23% w/w to about 26% w/w
  of the solids in the oral liquid formulation. In some embodi-
  ments, the paraben or mixture of parabens is present in about     15
  26% w/w to about 30% w/w of the solids in the oral liquid
  formulation.
  Sweetener and Preservative Incompatibility
     Paraben preservatives (especially methylparaben) can
  react with selected sugars (glucose, fructose, sucrose, lac-      20
  tose, maltose) and sugar alcohols (xylitol, mannitol, lactitol,
  maltitol, sorbitol) to form transesterification reaction prod-
  ucts. This can be undesirable from a formulation and sta-
  bility standpoint as the transesterification creates additional
  degradants.                                                       25
     In some embodiments, the enalapril oral liquid formula-                                enalapril diketopiperazine
  tion described herein does not comprise a paraben preser-
  vative. In further embodiments, the enalapril oral liquid
  formulation described herein does not comprise a paraben
  preservative when the formulation also comprises a sugar or       30
  sugar alcohol.
                                                                                                        CH3
           pH of Enalapril Oral Liquid Formulations
                                                                                     HO
     Buffering agents maintain the pH of the liquid enalapril 35                            H
  formulation. Non-limiting examples of buffering agents                                             O
  include, but are not limited to sodium bicarbonate, potas-                                            HO
  sium bicarbonate, magnesium hydroxide, magnesium lac-                                     enalaprilat
  tate, magnesium glucomate, aluminum hydroxide, alumi-
  num hydroxide/sodium bicarbonate co-precipitate, mixture 40
  of an amino acid and a buffer, a mixture of aluminum               In some embodiments, the percentage of enalaprilat for-
  glycinate and a buffer, a mixture of an acid salt of an amino   mation is increased when the pH is above 3.5. (See table C-2
  acid and a buffer, and a mixture of an alkali salt of an amino  and FIG. 1 and FIG. 2). In some embodiments, the percent-
  acid and a buffer. Additional buffering agents include citric   age of enalapril diketopiperazine formation is slightly
  acid, sodium citrate, sodium tartarate, sodium acetate, 45 increased as the pH is below 4.
  sodium carbonate, sodium polyphosphate, potassium poly-            In some embodiments, the pH of the enalapril oral liquid
  phosphate, sodium pyrophosphate, potassium pyrophos-            formulation described herein is less than about 4. In some
  phate, disodium hydrogenphosphate, dipotassium hydrogen-        embodiments, the pH of the enalapril oral liquid formulation
  phosphate, trisodium phosphate, tripotassium phosphate,         described herein is less than about 3.5. In some embodi-
  sodium acetate, potassium metaphosphate, magnesium 50 ments, the pH of the enalapril oral liquid formulation
  oxide, magnesium hydroxide, magnesium carbonate, mag-           described herein is between about 3 and about 4. In some
  nesium silicate, calcium acetate, calcium glycerophosphate,     embodiments, the pH of the enalapril oral liquid formulation
  calcium chloride, calcium hydroxide, calcium lactate, cal-      described herein is between about 3 and about 3.5. In some
  cium carbonate, calcium bicarbonate, and other calcium          embodiments, the pH of the enalapril oral liquid formulation
  salts. Some buffering agents also impart effervescent quali- 55 described herein is about 3, about 3.1, about 3.2, about 3.3,
  ties when a powder is reconstituted in a solution. In some      about 3.4, about 3.5, about 3.6, about 3.7, about 3.8, about
  embodiments, the buffering agent is not sodium bicarbonate.     3.9, or about 4. In some embodiments, the pH of the
     In some embodiments, the oral liquid formulation com-        enalapril oral liquid formulation described herein is about
  prises a buffer.                                                3.3.
     In some embodiments, the buffer in the enalapril oral 60        In some embodiments, the formation of degradants is
  liquid formulation described herein comprises citric acid. In   dependent on the buffer concentration. In some embodi-
  some embodiments, the buffer in the enalapril oral liquid       ments, the buffer concentration impacts the taste of the
  formulation described herein comprises citric acid and          enalapril oral liquid formulation.
  sodium citrate. In some embodiments, the buffer in the             In some embodiments, the buffer concentration is
  enalapril oral liquid formulation described herein comprises 65 between about 5 mM and about 20 mM. In some embodi-
  citric acid and sodium citrate dihydrate or an equivalent       ments, the buffer concentration is about 5 mM, about 6 mM,
  molar amount of sodium citrate anhydrous. In some embodi-       about 7 mM, about 8 mM, about 9 mM, about 10 mM, about
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                               15                                                                   16
  11 mM, about 12 mM, about 13 mM, about 14 mM, about                   mg/mL, about 3.45 mg/mL, or about 3.5 mg/mL in the oral
  15 mM, about 16 mM, about 17 mM, about 18 mM, about                   liquid formulation. In some embodiments, citric acid is
  19 mM, or about 20 mM. In some embodiments, the buffer                present in about 3.3 mg/ml in the oral liquid formulation.
  concentration is about 5 mM. In some embodiments, the                    In some embodiments, citric acid is present in about 10%
  buffer concentration is about 10 mM. In some embodiments,        5    w/w to about 50% w/w of the solids in the oral liquid
  the buffer concentration is about 20 mM.                              formulation. In other embodiments, citric acid is present in
     In some embodiments, citric acid is present in about 0.7           about 10% w/w, about 11% w/w, about 12% w/w, about 13%
  to about 2 mg/ml in the oral liquid formulation. In other             w/w, about 14% w/w, about 15% w/w, about 16% w/w,
  embodiments, citric acid is present in about 0.7 mg/ml,               about 17% w/w, about 18% w/w, about 19% w/w, about 20%
  about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml,            io   w/w, about 21% w/w, about 22% w/w, about 23% w/w,
  about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml,                 about 24% w/w, about 25% w/w, about 26% w/w, about 27%
  about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml,                 w/w, about 28% w/w, about 29% w/w, about 30% w/w,
  about 0.8 mg/ml, about 0.81 mg/ml, about 0.82 mg/ml,                  about 31% w/w, about 32% w/w, about 33% w/w, about 34%
  about 0.83 mg/ml, about 0.84 mg/ml, about 0.85 mg/ml,                 w/w, about 35% w/w, about 36% w/w, about 37% w/w,
  about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml,            15   about 38% w/w, about 39% w/w, about 40% w/w, about 41%
  about 0.89 mg/ml, about 0.9 mg/mL, about 0.91 mg/mL,                  w/w, about 42% w/w, about 43% w/w, about 44% w/w,
  about 0.92 mg/mL, about 0.93 mg/mL, about 0.94 mg/mL,                 about 45% w/w, about 46% w/w, about 47% w/w, about 48%
  about 0.95 mg/mL, about 0.96 mg/mL, about 0.97 mg/mL,                 w/w, about 49% w/w, about 50% w/w of the solids in the oral
  about 0.98 mg/mL, about 0.99 mg/mL, about 1 mg/mL,                    liquid formulation. In some embodiments, citric acid is
  about 1.11 mg/ml, about 1.12 mg/ml, about 1.13 mg/ml,            20   present in about 45% w/w of the solids in the oral liquid
  about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml,                 formulation. In some embodiments, citric acid is present in
  about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml,                 about 31% w/w of the solids in the oral liquid formulation.
  about 1.2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml,                  In some embodiments, citric acid is present in about 35%
  about 1.23 mg/ml, about 1.24 mg/ml, about 1.25 mg/ml,                 w/w of the solids in the oral liquid formulation. In some
  about 1.26 mg/ml, about 1.27 mg/ml, about 1.28 mg/ml,            25   embodiments, citric acid is present in about 19% w/w of the
  about 1.29 mg/ml, about 1.3 mg/mL, about 1.31 mg/mL,                  solids in the oral liquid formulation.
  about 1.32 mg/mL, about 1.33 mg/mL, about 1.34 mg/mL,                    In some embodiments, citric acid is present in about 1%
  about 1.35 mg/mL, about 1.36 mg/mL, about 1.37 mg/mL,                 w/w to about 5% w/w of the solids in the oral liquid
  about 1.38 mg/mL, about 1.39 mg/mL, about 1.4 mg/ml,                  formulation. In other embodiments, citric acid is present in
  about 1.41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml,            30   about 1% w/w, about 1.1% w/w, about 1.2% w/w, about
  about 1.44 mg/ml, about 1.45 mg/ml, about 1.46 mg/ml,                 1.3% w/w, about 1.4% w/w, about 1.5% w/w, about 1.6%
  about 1.47 mg/ml, about 1.48 mg/ml, about 1.49 mg/ml,                 w/w, about 1.7% w/w, about 1.8% w/w, about 1.9% w/w,
  about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml,                  about 2% w/w, about 2.1% w/w, about 2.2% w/w, about
  about 1.53 mg/ml, about 1.54 mg/ml, about 1.55 mg/ml,                 2.3% w/w, about 2.4% w/w, about 2.5% w/w, about 2.6%
  about 1.56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml,            35   w/w, about 2.7% w/w, about 2.8% w/w, about 2.9% w/w,
  about 1.59 mg/ml, about 1.6 mg/mL, about 1.61 mg/mL,                  about 3% w/w, about 3.1% w/w, about 3.2% w/w, about
  about 1.62 mg/mL, about 1.63 mg/mL, about 1.64 mg/mL,                 3.3% w/w, about 3.4% w/w, about 3.5% w/w, about 3.6%
  about 1.65 mg/mL, about 1.66 mg/mL, about 1.67 mg/mL,                 w/w, about 3.7% w/w, about 3.8% w/w, about 3.9% w/w,
  about 1.68 mg/mL, about 1.69 mg/mL, about 1.7 mg/ml,                  about 4% w/w, about 4.1% w/w, about 4.2% w/w, about
  about 1.71 mg/ml, about 1.72 mg/ml, about 1.73 mg/ml,            40   4.3% w/w, about 4.4% w/w, about 4.5% w/w, about 4.6%
  about 1.74 mg/ml, about 1.75 mg/ml, about 1.76 mg/ml,                 w/w, about 4.7% w/w, about 4.8% w/w, about 4.9% w/w, or
  about 1.77 mg/ml, about 1.78 mg/ml, about 1.79 mg/ml,                 about 5% w/w of the solids in the oral liquid formulation. In
  about 1.8 mg/ml, about 1.81 mg/ml, about 1.82 mg/ml,                  some embodiments, citric acid is present in about 2.1% w/w
  about 1.83 mg/ml, about 1.84 mg/ml, about 1.85 mg/ml,                 of the solids in the oral liquid formulation. In some embodi-
  about 1.86 mg/ml, about 1.87 mg/ml, about 1.88 mg/ml,            45   ments, citric acid is present in about 1.6% w/w of the solids
  about 1.89 mg/ml, about 1.9 mg/mL, about 1.91 mg/mL,                  in the oral liquid formulation.
  about 1.92 mg/mL, about 1.93 mg/mL, about 1.94 mg/mL,                    In some embodiments, sodium citrate dihydrate is present
  about 1.95 mg/mL, about 1.96 mg/mL, about 1.97 mg/mL,                 in about 0.1 to about 0.8 mg/ml in the oral liquid formula-
  about 1.98 mg/mL, about 1.99 mg/mL, or about 2 mg/mL in               tion. In other embodiments, sodium citrate dihydrate is
  the oral liquid formulation. In some embodiments, citric acid    so   present in the oral liquid formulation is about 0.1 mg/mL,
  is present in about 1.65 mg/ml in the oral liquid formulation.        about 0.11 mg/mL, about 0.12 mg/mL, about 0.13 mg/mL,
  In some embodiments, citric acid is present in about 1.82             about 0.14 mg/mL, about 0.15 mg/ml, about 0.16 mg/mL,
  mg/ml in the oral liquid formulation. In some embodiments,            about 0.17 mg/mL, about 0.18 mg/mL, about 0.19 mg/mL,
  citric acid is present in about 0.82 mg/ml in the oral liquid         about 0.2 mg/ml, about 0.21 mg/ml, about 0.22 mg/ml,
  formulation.                                                     55   about 0.23 mg/ml, about 0.24 mg/ml, about 0.25 mg/ml,
     In some embodiments, citric acid is present in about 2 to          about 0.26 mg/ml, about 0.27 mg/ml, about 0.28 mg/ml,
  about 3.5 mg/ml in the oral liquid formulation. In other              about 0.29 mg/ml, about 0.3 mg/ml, about 0.31 mg/ml,
  embodiments, citric acid is present in about 2 mg/mL, about           about 0.32 mg/ml, about 0.33 mg/ml, about 0.34 mg/ml,
  2.05 mg/mL, about 2.1 mg/mL, about 2.15 mg/mL, about                  about 0.35 mg/ml, about 0.36 mg/ml, about 0.37 mg/ml,
  2.2 mg/mL, about 2.25 mg/mL, about 2.3 mg/mL, about              60   about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml,
  2.35 mg/mL, about 2.4 mg/mL, about 2.45 mg/mL, about                  about 0.41 mg/ml, about 0.42 mg/ml, about 0.43 mg/ml,
  2.5 mg/mL, about 2.55 mg/mL, about 2.6 mg/mL, about                   about 0.44 mg/ml, about 0.45 mg/ml, about 0.46 mg/ml,
  2.65 mg/mL, about 2.7 mg/mL, about 2.75 mg/mL, about                  about 0.47 mg/ml, about 0.48 mg/ml, about 0.49 mg/ml,
  2.8 mg/mL, about 2.85 mg/mL, about 2.9 mg/mL, about                   about 0.5 mg/ml, about 0.51 mg/ml, about 0.52 mg/ml,
  2.95 mg/mL, about 3 mg/mL, about 3.05 mg/ml, about 3.1           65   about 0.53 mg/ml, about 0.54 mg/ml, about 0.55 mg/ml,
  mg/mL, about 3.15 mg/mL, about 3.2 mg/mL, about 3.25                  about 0.56 mg/ml, about 0.57 mg/ml, about 0.58 mg/ml,
  mg/mL, about 3.3 mg/mL, about 3.35 mg/mL, about 3.4                   about 0.59 mg/ml, about 0.6 mg/ml, about 0.61 mg/ml,
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                                17                                                                       18
  about 0.62 mg/ml, about 0.63 mg/ml, about 0.64 mg/ml,                     simulated with synthetic agents or combinations thereof,
  about 0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml,                     include almond, anise, apple, apricot, bergamot, blackberry,
  about 0.68 mg/ml, about 0.69 mg/ml, about 0.7 mg/ml,                      blackcurrant, blueberry, cacao, caramel, cherry, cinnamon,
  about 0.71 mg/ml, about 0.72 mg/ml, about 0.73 mg/ml,                     clove, coffee, coriander, cranberry, cumin, dill, eucalyptus,
  about 0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ml,                5    fennel, fig, ginger, grape, grapefruit, guava, hop, lemon,
  about 0.77 mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, or                  licorice, lime, malt, mandarin, molasses, nutmeg, mixed
  about 0.8 mg/ml in the oral liquid formulation. In some                   berry, orange, peach, pear, peppermint, pineapple, raspberry,
  embodiments, sodium citrate dihydrate is present in about                 rose, spearmint, strawberry, tangerine, tea, vanilla, winter-
  0.75 mg/ml in the oral liquid formulation. In some embodi-                green, etc. Also useful, particularly where the formulation is
  ments, sodium citrate dihydrate is present in about 0.35             10   intended primarily for pediatric use, is tutti-frutti or bubble-
  mg/ml in the oral liquid formulation. In some embodiments,                gum flavor, a compounded flavoring agent based on fruit
  sodium citrate dihydrate is present in about 0.2 mg/ml in the             flavors. Presently preferred flavoring agents include anise,
  oral liquid formulation. In some embodiments, sodium cit-                 cinnamon, cacao, orange, peppermint, cherry (in particular
  rate dihydrate is present in about 0.15 mg/ml in the oral                 wild cherry), grape, bubblegum, vanilla, and mixed berry. In
  liquid formulation.                                                  15   some embodiments, the enalapril liquid formulation
     In some embodiments, sodium citrate dihydrate is present               described herein comprises a mixed berry flavoring agent.
  in about 1% w/w to about 15% w/w of the solids in the oral                Flavoring agents can be used singly or in combinations of
  liquid formulation. In other embodiments, sodium citrate                  two or more.
  dihydrate is present in about 1% w/w, about 1.1% w/w, about                  In further embodiments, the enalapril liquid formulation
  1.2% w/w, about 1.3% w/w, about 1.4% w/w, about 1.5%                 20   comprises a coloring agent for identity and/or aesthetic
  w/w, about 1.6% w/w, about 1.7% w/w, about 1.8% w/w,                      purposes. Suitable coloring agents illustratively include
  about 1.9% w/w, about 2% w/w, about 2.1% w/w, about                       FD&C Red No. 3, FD&C Red No. 20, FD&C Red No. 40,
  2.2% w/w, about 2.3% w/w, about 2.4% w/w, about 2.5%                      FD&C Yellow No. 6, FD&C Blue No. 2, FD&C Green No.
  w/w, about 2.6% w/w, about 2.7% w/w, about 2.8% w/w,                      5, FD&C Orange No. 5, caramel, ferric oxide and mixtures
  about 2.9% w/w, about 3% w/w, about 3.1% w/w, about                  25   thereof.
  3.2% w/w, about 3.3% w/w, about 3.4% w/w, about 3.5%                         Thickeners impart viscosity or weight to the resultant
  w/w, about 3.6% w/w, about 3.7% w/w, about 3.8% w/w,                      liquid forms from the enalapril formulation described
  about 3.9% w/w, about 4% w/w, about 4.5% w/w, about 5%                    herein. Exemplary thickeners include dextrin, cellulose
  w/w, about 5.5% w/w, about 6% w/w, about 6.5% w/w,                        derivatives (carboxymethylcellulose and its salts, ethylcel-
  about 7% w/w, about 7.5% w/w, about 8% w/w, about 8.5%               30   lulose, hydroxyethyl cellulose, methylcellulose, hypromel-
  w/w, about 9% w/w, about 9.5% w/w, about 10% w/w, about                   lose, and the like) starches, pectin, polyethylene glycol,
  10.5% w/w, about 11% w/w, about 11.5% w/w, about 12%                      polyethylene oxide, trehalose and certain gums (xanthan
  w/w, about 12.5% w/w, about 13% w/w, about 13.5% w/w,                     gum, locust bean gum, etc.). In certain embodiments, the
  about 14% w/w, about 14.5% w/w, about 15% w/w of the                      enalapril liquid formulation comprises a thickener.
  solids in the oral liquid formulation. In some embodiments,          35      Additional excipients are contemplated in the enalapril
  sodium citrate dihydrate is present in about 10.5% w/w of                 liquid formulation embodiments. These additional excipi-
  the solids in the oral liquid formulation. In some embodi-                ents are selected based on function and compatibility with
  ments, sodium citrate dihydrate is present in about 7.5%                  the enalapril liquid formulations described herein and may
  w/w of the solids in the oral liquid formulation. In some                 be found, for example in Remington: The Science and
  embodiments, sodium citrate dihydrate is present in about            40   Practice of Pharmacy. Nineteenth Ed (Easton, Pa.: Mack
  4.5% w/w of the solids in the oral liquid formulation. In                 Publishing Company, 1995); Hoover, John E., Remington's
  some embodiments, sodium citrate dihydrate is present in                  Pharmaceutical Sciences. (Easton, Pa.: Mack Publishing Co
  about 2.9% w/w of the solids in the oral liquid formulation.              1975); Liberman, H. A. and Lachman, L., Eds., Pharma-
     In other embodiments, sodium citrate dihydrate is not                  ceutical Dosage Forms (New York, N.Y.: Marcel Decker
  added to the formulation.                                            45   1980); and Pharmaceutical Dosage Forms and Drug Deliv-
  Additional Excipients                                                     ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In further embodiments, the enalapril liquid formulation               1999), herein incorporated by reference in their entirety.
  described herein comprises additional excipients including,               Stability
  but not limited to, glidants, flavoring agents, coloring agents              The main enalapril degradants are enalapril diketopipera-
  and thickeners. Additional excipients such as bulking agents,        50   zine and enalaprilat.
  tonicity agents and chelating agents are within the scope of                 The enalapril oral liquid formulations described herein are
  the embodiments.                                                          stable in various storage conditions including refrigerated,
     Glidants are substances that improve flowability of a                  ambient and accelerated conditions. Stable as used herein
  powder. Suitable glidants include, but are not limited to,                refers to enalapril oral liquid formulations having about 95%
  calcium phosphate tribasic, calcium silicate, cellulose (pow-        55   or greater of the initial enalapril amount and about 5% w/w
  dered), colloidal silicon dioxide, magnesium silicate, mag-               or less total impurities or related substances at the end of a
  nesium trisilicate, silicon dioxide, starch, talc and the like. In        given storage period. The percentage of impurities is calcu-
  some embodiments, the enalapril powder formulations                       lated from the amount of impurities relative to the amount of
  described herein comprise a glidant. In some embodiments                  enalapril. Stability is assessed by HPLC or any other known
  the glidant is not colloidal silicon dioxide.                        60   testing method. In some embodiments, the stable enalapril
     In another embodiment, the enalapril liquid formulation                oral liquid formulations have about 5% w/w, about 4% w/w,
  comprises a flavoring agent or flavorant to enhance the taste             about 3% w/w, about 2.5% w/w, about 2% w/w, about 1.5%
  or aroma of the formulation in liquid form. Suitable natural              w/w, about 1% w/w, or about 0.5% w/w total impurities or
  or synthetic flavoring agents can be selected from standard               related substances. In other embodiments, the stable enal-
  reference books, for example Fenaroli's Handbook of Flavor           65   april oral liquid formulations have about 5% w/w total
  Ingredients, 3rd edition (1995). Non-limiting examples of                 impurities or related substances. In yet other embodiments,
  suitable natural flavors, some of which can readily be                    the stable enalapril oral liquid formulations have about 4%
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  w/w total impurities or related substances. In yet other                    In some embodiments, enalapril or a pharmaceutically
  embodiments, the stable enalapril oral liquid formulations               acceptable salt thereof, is present in about 0.5% w/w to
  have about 3% w/w total impurities or related substances. In             about 30% w/w of the powder formulation. In other embodi-
  yet other embodiments, the stable enalapril oral liquid                  ments, enalapril or a pharmaceutically acceptable salt
  formulations have about 2% w/w total impurities or related          5    thereof, is present in about 0.5% w/w, about 1% w/w, about
  substances. In yet other embodiments, the stable enalapril               1.5% w/w, about 2% w/w, about 2.5% w/w, about 3% w/w,
  oral liquid formulations have about 1% w/w total impurities              about 3.5% w/w, about 4% w/w, about 4.5% w/w, about 5%
  or related substances.                                                   w/w, about 5.5% w/w, about 6% w/w, about 6.5% w/w,
     At refrigerated condition, the enalapril oral liquid formu-           about 7% w/w, about 7.5% w/w, about 8% w/w, about 8.5%
                                                                      10   w/w, about 9% w/w, about 9.5% w/w, about 10% w/w, about
  lations described herein are stable for at least 1 month, at
                                                                           10.5% w/w, about 11% w/w, about 11.5% w/w, about 12%
  least 2 months, at least 3 months, at least 6 months, at least
                                                                           w/w, about 12.5% w/w, about 13% w/w, about 13.5% w/w,
  9 months, at least 12 months, at least 15 months, at least 18
                                                                           about 14% w/w, about 14.5% w/w, about 15% w/w, about
  months, at least 24 months, at least 30 months and at least              15.5% w/w, about 16% w/w, about 16.5% w/w, about 17%
  36 months. In some embodiments, refrigerated condition is           15   w/w, about 17.5% w/w, about 18% w/w, about 18.5% w/w,
  5±3° C. In some embodiments, refrigerated condition is                   about 19% w/w, about 19.5% w/w, about 20% w/w, about
  about 2° C., about 2.1° C., about 2.2° C., about 2.3° C.,                20.5% w/w, about 21% w/w, about 21.5% w/w, about 22%
  about 2.4° C., about 2.5° C., about 2.6° C., about 2.7° C.,              w/w, about 22.5% w/w, about 23% w/w, about 23.5% w/w,
  about 2.8° C., about 2.9° C., about 3° C., about 3.1° C.,                about 24% w/w, about 24.5% w/w, about 25% w/w, about
  about 3.2° C., about 3.3° C., about 3.4° C., about 3.5° C.,         20   25.5% w/w, about 26% w/w, about 26.5% w/w, about 27%
  about 3.6° C., about 3.7° C., about 3.8° C., about 3.9° C.,              w/w, about 27.5% w/w, about 28% w/w, about 28.5% w/w,
  about 4° C., about 4.1° C., about 4.2° C., about 4.3° C.,                about 29% w/w, about 29.5% w/w, or about 30% w/w of the
  about 4.4° C., about 4.5° C., about 4.6° C., about 4.7° C.,              powder formulation. In some embodiments, enalapril or a
  about 4.8° C., about 4.9° C., about 5° C., about 5.1° C.,                pharmaceutically acceptable salt thereof, is present in about
  about 5.2° C., about 5.3° C., about 5.4° C., about 5.5° C.,         25   10% w/w to about 25% w/w of the powder formulation. In
  about 5.6° C., about 5.7° C., about 5.8° C., about 5.9° C.,              some embodiments, enalapril maleate is present in about
  about 6° C., about 6.1° C., about 6.2° C., about 6.3° C.,                13.5% w/w of the powder formulation. In some embodi-
  about 6.4° C., about 6.5° C., about 6.6° C., about 6.7° C.,              ments, enalapril maleate is present in about 19.5% w/w of
  about 6.8° C., about 6.9° C., about 7° C., about 7.1° C.,                the powder formulation. In some embodiments, enalapril
  about 7.2° C., about 7.3° C., about 7.4° C., about 7.5° C.,         30   maleate is present in about 24.5% w/w of the powder
  about 7.6° C., about 7.7° C., about 7.8° C., about 7.9° C., or           formulation. In some embodiments, enalapril is present in
  about 8° C. At accelerated conditions, the enalapril oral                about 10.5% w/w of the powder formulation. In some
  liquid formulations described herein are stable for at least 1           embodiments, enalapril is present in about 14.5% w/w of the
  month, at least 2 months, at least 3 months, at least 4 months,          powder formulation. In some embodiments, enalapril is
  at least 5 months, at least 6 months, at least 7 months, at least   35   present in about 18% w/w of the powder formulation.
  8 months, at least 9 months, at least 10 months, at least 11                In some embodiments, enalapril or a pharmaceutically
  months or at least 12 months. Accelerated conditions for the             acceptable salt thereof, is present in about 0.1% w/w to
  enalapril oral liquid formulations described herein include              about 1% w/w of the powder formulation. In other embodi-
  temperature and/or relative humidity (RH) that are at or                 ments, enalapril or a pharmaceutically acceptable salt
  above ambient levels (e.g. 25±5° C.; 55±10% RH). In some            40   thereof, is present in about 0.1% w/w, about 0.15% w/w,
  instances, an accelerated condition is at about 25° C., about            about 0.2% w/w, about 0.25% w/w, about 0.3% w/w, about
  30° C., about 35° C., about 40° C., about 45° C., about 50°              0.35% w/w, about 0.4% w/w, about 0.45% w/w, about 0.5%
  C., about 55° C. or about 60° C. In other instances, an                  w/w, about 0.55% w/w, about 0.6% w/w, about 0.65% w/w,
  accelerated condition is above 55% RH, about 65% RH,                     about 0.7% w/w, about 0.75% w/w, about 0.8% w/w, about
  about 70% RH, about 75% RH or about 80% RH. In further              45   0.85% w/w, about 0.9% w/w, about 0.95% w/w, or about 1%
  instances, an accelerated condition is about 40° C. or 60° C.            w/w of the powder formulation. In some embodiments,
  at ambient humidity. In yet further instances, an accelerated            enalapril or a pharmaceutically acceptable salt thereof, is
  condition is about 40° C. at 75±5% RH humidity.                          present in about 0.4% w/w to about 0.7% w/w of the powder
  Enalapril Oral Powder Formulation                                        formulation. In some embodiments, enalapril maleate is
     In another aspect, enalapril oral liquid formulations            so   present in about 0.45% w/w of the powder formulation. In
  described herein are prepared from the reconstitution of an              some embodiments, enalapril maleate is present in about
  enalapril powder formulation. In some embodiments, the                   0.6% w/w of the powder formulation. In some embodi-
  enalapril powder formulation comprising enalapril, a sweet-              ments, enalapril is present in about 0.4% w/w of the powder
  ener, a preservative, and optionally an excipient is dissolved           formulation. In some embodiments, enalapril is present in
  in water, a buffer, other aqueous solvent, or a liquid to form      55   about 0.5% w/w of the powder formulation.
  an enalapril oral liquid formulation. In one embodiment, the               Various amounts and concentrations of other components
  sweetening agent is sucralose. In one embodiment, the                    (sweeteners, buffers, preservatives, and the like) in the
  sweetener is not mannitol. In one embodiment, the sweet-                 enalapril powder formulations are found in the previous
  ening agent is xylitol. In another embodiment, the preser-               section describing the amounts and concentrations for the
  vative is sodium benzoate. In one embodiment, the preser-           60   analogous enalapril oral liquid formulations. For example, in
  vative is a paraben preservative. In one aspect, the enalapril           some embodiments where sucralose is present in about 1%
  powder formulation described herein comprises enalapril,                 w/w to about 30% w/w of the solids in the oral liquid
  sucralose, and sodium benzoate. In some embodiments, the                 formulation; in an analogous enalapril powder formulation,
  enalapril powder formulation herein further comprises a                  sucralose would be about 1% w/w to about 30% w/w in the
  flavoring agent. In some embodiments, the enalapril powder          65   powder formulation. In some embodiments where sodium
  formulation herein further comprises one or more buffering               benzoate is present in about 1% w/w to about 30% w/w of
  agents.                                                                  the solids in the oral liquid formulation, in an analogous
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  enalapril powder formulation sodium benzoate is present in                tions thereof, include almond, anise, apple, apricot, berga-
  about 1% w/w to about 30% w/w in the powder formulation.                  mot, blackberry, blackcurrant, blueberry, cacao, caramel,
     Liquid vehicles suitable for the enalapril powder formu-               cherry, cinnamon, clove, coffee, coriander, cranberry, cumin,
  lations to be reconstituted into an oral solution described               dill, eucalyptus, fennel, fig, ginger, grape, grapefruit, guava,
  herein are selected for a particular oral liquid formulation         5    hop, lemon, licorice, lime, malt, mandarin, molasses, nut-
  (solution, suspension, etc.) as well as other qualities such as           meg, mixed berry, orange, peach, pear, peppermint, pine-
  clarity, toxicity, viscosity, compatibility with excipients,              apple, raspberry, rose, spearmint, strawberry, tangerine, tea,
  chemical inertness, palatability, odor, color and economy.                vanilla, wintergreen, etc. Also useful, particularly where the
  Exemplary liquid vehicles include water, ethyl alcohol,                   formulation is intended primarily for pediatric use, is tutti-
  glycerin, propylene glycol, syrup (sugar or other sweetener          10   frutti or bubblegum flavor, a compounded flavoring agent
  based, e.g., Ora-Sweet® SF sugar-free flavored syrup),                    based on fruit flavors. Presently preferred flavoring agents
  juices (apple, grape, orange, cranberry, cherry, tomato and               include anise, cinnamon, cacao, orange, peppermint, cherry
  the like), other beverages (tea, coffee, soft drinks, milk and            (in particular wild cherry), grape, bubblegum, vanilla, and
  the like), oils (olive, soybean, corn, mineral, castor and the            mixed berry. Flavoring agents can be used singly or in
  like), and combinations or mixtures thereof. Certain liquid          15   combinations of two or more.
  vehicles, e.g., oil and water, can be combined together to                   In further embodiments, the enalapril powder formulation
  form emulsions. In some embodiments, water is used for as                 described herein comprises a coloring agent for identity
  a vehicle for a enalapril oral liquid formulation. In other               and/or aesthetic purposes. Suitable coloring agents illustra-
  embodiments, a syrup is used for as a vehicle for a enalapril             tively include FD&C Red No. 3, FD&C Red No. 20, FD&C
  oral liquid formulation. In yet other embodiments, a juice is        20   Red No. 40, FD&C Yellow No. 6, FD&C Blue No. 2, D&C
  used for as a vehicle for a enalapril oral liquid formulation.            Green No. 5, D&C Orange No. 5, caramel, ferric oxide and
     Buffering agents maintain the pH of the liquid enalapril               mixtures thereof.
  formulation. Non-limiting examples of buffering agents                       In further embodiments, the enalapril powder formulation
  include, but are not limited to sodium bicarbonate, potas-                described herein comprises a thickener. Thickeners impart
  sium bicarbonate, magnesium hydroxide, magnesium lac-                25   viscosity or weight to the resultant liquid forms from the
  tate, magnesium gluconate, aluminum hydroxide, aluminum                   enalapril formulation described herein. Exemplary thicken-
  hydroxide/sodium bicarbonate co precipitate, mixture of an                ers include dextrin, cellulose derivatives (carboxymethyl-
  amino acid and a buffer, a mixture of aluminum glycinate                  cellulose and its salts, ethylcellulose, hydroxyethyl cellu-
  and a buffer, a mixture of an acid salt of an amino acid and              lose, methylcellulose, hypromellose, and the like) starches,
  a buffer, and a mixture of an alkali salt of an amino acid and       30   pectin, polyethylene glycol, polyethylene oxide, trehalose
  a buffer. Additional buffering agents include citric acid,                and certain gums (xanthan gum, locust bean gum, etc.).
  sodium citrate, sodium tartrate, sodium acetate, sodium                      Additional excipients are contemplated in the enalapril
  carbonate, sodium polyphosphate, potassium polyphos-                      powder formulation embodiments. These additional excipi-
  phate, sodium pyrophosphate, potassium pyrophosphate,                     ents are selected based on function and compatibility with
  disodium hydrogenphosphate, dipotassium hydrogenphos-                35   the the enalapril powder formulation described herein and
  phate, trisodium phosphate, tripotassium phosphate, sodium                may be found, for example in Remington: The Science and
  acetate, potassium metaphosphate, magnesium oxide, mag-                   Practice of Pharmacy. Nineteeth Ed (Easton, Pa.: Mack
  nesium hydroxide, magnesium carbonate, magnesium sili-                    Publishing Company, 1995); Hoover, John E., Remington's
  cate, calcium acetate, calcium glycerophosphate, calcium                  Pharmaceutical Sciences. (Easton, Pa.: Mack Publishing Co
  chloride, calcium hydroxide, calcium lactate, calcium car-           40   1975); Liberman, H. A. and Lachman, L., Eds., Pharma-
  bonate, calcium bicarbonate, and other calcium salts. Some                ceutical Dosage Forms (New York, N.Y.: Marcel Decker
  buffering agents also impart effervescent qualities when a                1980); and Pharmaceutical Dosage Forms and Drug Deliv-
  powder is reconstituted in a solution.                                    ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In some embodiments, the reconstituted oral liquid for-                1999), herein incorporated by reference in their entirety.
  mulation comprises a buffer. In some embodiments, the                45      In some embodiments, the enalapril oral liquid formula-
  buffer comprises citric acid and sodium citrate.                          tion prepared from the powder formulations described
  In further embodiments, the enalapril powder formulation                  herein are homogenous. Homogenous liquids as used herein
  described herein comprises additional excipients including,               refer to those liquids that are uniform in appearance, identity,
  but not limited to, glidants, flavoring agents, coloring agents           consistency and drug concentration per volume. Non-ho-
  and thickeners. Additional excipients such as bulking agents,        5o   mogenous liquids include such liquids that have varied
  tonicity agents and chelating agents are within the scope of              coloring, viscosity and/or aggregation of solid particulates,
  the embodiments.                                                          as well as non-uniform drug concentration in a given unit
     Glidants are substances that improve flowability of a                  volume. Homogeneity in liquids are assessed by qualitative
  powder. Suitable glidants include, but are not limited to,                identification or appearance tests and/or quantitative HPLC
  calcium phosphate tribasic, calcium silicate, cellulose (pow-        55   testing or the like. The mixing methods and excipients
  dered), colloidal silicon dioxide, magnesium silicate, mag-               described herein are selected to impart a homogenous qual-
  nesium trisilicate, silicon dioxide, starch, talc and the like. In        ity to a resultant enalapril oral liquid formulation.
  some embodiments, the enalapril powder formulations                          Mixing methods encompass any type of mixing that result
  described herein comprise a glidant.                                      in a homogenous enalapril oral liquid formulation. In some
     In another embodiment, the enalapril powder formulation           60   embodiments, a quantity of an enalapril powder formulation
  described herein comprises a flavoring agent or flavorant to              is added to a liquid vehicle and then mixed by a stirring,
  enhance the taste or aroma of the formulation in liquid form.             shaking, swirling, agitation element or a combination
  Suitable natural or synthetic flavoring agents can be selected            thereof. In certain instances, a fraction of a enalapril powder
  from standard reference books, for example Fenaroli's                     formulation (i.e., one-half, one-third, one-fourth, etc.) is
  Handbook of Flavor Ingredients, 3rd edition (1995). Non-             65   added to a liquid vehicle, mixed by stirring, shaking, swirl-
  limiting examples of suitable natural flavors, some of which              ing, agitation or a combination thereof, and the subsequent
  can readily be simulated with synthetic agents or combina-                powder fraction(s) is added and mixed. In other embodi-
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  ments, a liquid vehicle is added to an enalapril powder               powder formulations described herein include temperature
  formulation in a container, for example, a bottle, vial, bag,         and/or relative humidity (RH) that are above ambient levels
  beaker, syringe, or the like. The container is then mixed by          (e.g. 25±4° C.; 55±10% RH). In some instances, an accel-
  stirring, shaking, swirling, agitation, inversion or a combi-         erated condition is at about 30° C., about 35° C., about 40°
  nation thereof. In certain instances, a fractional volume of     5    C., about 45° C., about 50° C., about 55° C. or about 60° C.
  the liquid vehicle (i.e., one-half, one-third, one-fourth vol-        In other instances, an accelerated condition is above 65%
  ume, etc.) is added to a enalapril powder formulation in a            RH, about 70% RH, about 75% RH or about 80% RH. In
  container, mixed by stirring, shaking, swirling, agitation,           further instances, an accelerated condition is about 40° C. or
  inversion or a combination thereof; and the subsequent                60° C. at ambient humidity. In yet further instances, an
  liquid fraction(s) is added and mixed. In certain instances, a   10   accelerated condition is about 40° C. at 75±5% RH humid-
  one-half fractional volume of the liquid vehicle is added to          ity.
  an enalapril powder formulation in a container and mixing             Kits and Articles of Manufacture
  by shaking; the other one-half fractional volume of the                  For the enalapril powder and liquid formulations
  liquid vehicle is then subsequently added and mixed. In any           described herein, kits and articles of manufacture are also
  of the above embodiments, mixing (i.e., stirring, shaking,       15   described. Such kits can comprise a carrier, package, or
  swirling, agitation, inversion or a combination thereof)              container that is compartmentalized to receive one or more
  occurs for a certain time intervals such as about 10 seconds,         containers such as vials, tubes, and the like, each of the
  about 20 seconds, about 30 seconds, about 45 seconds, about           container(s) comprising one of the separate elements to be
  60 seconds, about 90 seconds, about 120 seconds, about 2.5            used in a method described herein including an enalapril
  minutes, about 3 minutes, about 3.5 minutes, about 4 min-        20   powder or liquid formulation. Suitable containers include,
  utes, or about 5 minutes. In embodiments, where there are             for example, bottles, vials, syringes, and test tubes. The
  two or more mixing steps, the time intervals for each mixing          containers can be formed from a variety of materials such as
  can be the same (e.g., 2x10 seconds) or different (e.g., 10           glass or plastic.
  seconds for first mixing and 20 seconds for second mixing).              A kit will typically may comprise one or more additional
  In any of the above embodiments, a enalapril oral liquid         25   containers, each with one or more of various materials (such
  formulation is allowed to stand for a period of time such as          as reagents, optionally in concentrated form, and/or devices)
  about 10 minutes, about 20 minutes, about 30 minutes, about           desirable from a commercial and user standpoint for an
  45 minutes, about 1 hour, about 1.5 hours or about 2 hours,           enalapril powder or liquid formulation described herein.
  to allow any air bubbles resultant from any of the mixing             Non-limiting examples of such materials include, but not
  methods to dissipate.                                            30   limited to, buffers, diluents, filters, needles, syringes; carrier,
  Stability of Enalapril Powder Formulation                             package, container, vial and/or tube labels listing contents
      The enalapril powder formulations described herein are            and/or instructions for use, and package inserts with instruc-
  stable in various storage conditions including refrigerated,          tions for use associated with an enalapril powder or liquid
  ambient and accelerated conditions. Stable as used herein             formulation. A set of instructions will also typically be
  refer to enalapril powder formulations having about 95% or       35   included.
  greater of the initial enalapril amount and 5% w/w or less               A label can be on or associated with the container. A label
  total impurities or related substances at the end of a given          can be on a container when letters, numbers or other
  storage period. The percentage of impurities is calculated            characters forming the label are attached, molded or etched
  from the amount of impurities relative to the amount of               into the container itself; a label can be associated with a
  enalapril. Stability is assessed by HPLC or any other known      40   container when it is present within a receptacle or carrier that
  testing method. In some embodiments, the stable enalapril             also holds the container, e.g., as a package insert. A label can
  powder formulations have about 5% w/w, about 4% w/w,                  be used to indicate that the contents are to be used for a
  about 3% w/w, about 2.5% w/w, about 2% w/w, about 1.5%                specific therapeutic application. The label can also indicate
  w/w, about 1% w/w, or about 0.5% w/w total impurities or              directions for use of the contents, such as in the methods
  related substances. In other embodiments, the stable enal-       45   described herein.
  april powder formulations have about 5% w/w total impu-               Methods
  rities or related substances. In yet other embodiments, the              Provided herein, in one aspect, are methods of treatment
  stable enalapril powder formulations have about 4% w/w                comprising administration of the enalapril oral liquid for-
  total impurities or related substances. In yet other embodi-          mulations described herein to a subject. In some embodi-
  ments, the stable enalapril powder formulations have about       50   ments, the enalapril oral liquid formulations described
  3% w/w total impurities or related substances. In yet other           herein treat hypertension in a subject. Hypertension as used
  embodiments, the stable enalapril powder formulations have            herein includes both primary (essential) hypertension and
  about 2% w/w total impurities or related substances. In yet           secondary hypertension. In certain instances, hypertension is
  other embodiments, the stable enalapril powder formula-               classified in cases when blood pressure values are greater
  tions have about 1% w/w total impurities or related sub-         55   than or equal to 140/90 (systolic/diastolic) mm Hg in a
  stances.                                                              subject. In certain instances, the enalapril oral liquid formu-
     At refrigerated and ambient conditions, in some embodi-            lations described herein treat a subject having a blood
  ments, the enalapril powder formulations described herein             pressure values are greater than or equal to 140/90 mm Hg.
  are stable for at least 1 week, 2 weeks, 4 weeks, 6 weeks, 8          In certain instances, the enalapril oral liquid formulations
  weeks, 10 weeks, 12 weeks, 16 weeks, 20 weeks, at least 24       60   described herein treat primary (essential) hypertension in a
  weeks, at least 30 weeks, or at least 36 weeks. At accelerated        subject. In other instances, the enalapril oral liquid formu-
  conditions, in some embodiments, the enalapril powder                 lations described herein treat secondary hypertension in a
  formulations described herein are stable for at least 1 week,         subject.
  at least 2 weeks, at least 3 weeks, at least 4 weeks, at least           In other embodiments, the enalapril oral liquid formula-
  5 weeks, at least 6 weeks, at least 7 weeks, at least 8 weeks,   65   tions described herein treat prehypertension in a subject.
  at least 9 weeks, at least 10 weeks, at least 11 weeks or at          Prehypertension as used herein refers to cases where a
  least 12 weeks. Accelerated conditions for the enalapril              subject's blood pressure is elevated above normal but not to
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  the level considered to be hypertension. In some instances,            identity (e.g., weight, sex) of the subject or host in need of
  prehypertension is classified in cases when blood pressure             treatment, but can nevertheless be determined according to
  values are 120-139/80-89 mm Hg. In certain instances, the              the particular circumstances surrounding the case, including,
  enalapril oral liquid formulations described herein treat a            e.g., the specific agent being administered, the liquid com-
  subject having blood pressure values of 120-139/80-89 mm          5    position type, the condition being treated, and the subject or
  Hg.                                                                    host being treated.
     In yet other embodiments, the enalapril oral liquid for-               In some embodiments, the enalapril oral liquid formula-
  mulations described herein are prophylactically adminis-               tions described herein are provided in a dose per day from
  tered to subjects suspected of having, predisposed to, or at           about 0.01 mg to 100 mg, from about 0.1 mg to about 80 mg,
  risk of developing hypertension. In some embodiments, the         10   from about 1 to about 60, from about 2 mg to about 40 mg
  administration of enalapril oral liquid formulations                   of enalapril. In certain embodiments, the enalapril oral liquid
  described herein allow for early intervention prior to onset           formulations described herein are provided in a daily dose of
  of hypertension. In certain embodiments, upon detection of             about 0.01 mg, about 0.05 mg, about 0.1 mg, about 0.2 mg,
  a biomarker, environmental, genetic factor, or other marker,           about 0.4 mg, about 0.6 mg, about 0.8 mg, about 1 mg, about
  the enalapril oral liquid formulations described herein are       15   1.5 mg, about 2 mg, about 2.5 mg, about 3 mg, about 4 mg,
  prophylactically administered to subjects.                             about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9
     In further embodiments, the enalapril oral liquid formu-            mg, about 10 mg, about 11 mg, about 12 mg, about 15 mg,
  lations described herein treat heart failure (e.g., symptomatic        about 20 mg, about 25 mg, about 30 mg, about 35 mg, about
  congestive), asymptomatic left ventricular dysfunction,                40 mg, about 45 mg, about 50 mg, about 55 mg, about 60
  myocardial infarction, diabetic nephropathy and chronic           20   mg, about 65 mg, about 70 mg, about 76, mg, about 80 mg,
  renal failure. In certain instances, the enalapril oral liquid         about 85 mg, about 90 mg or about 100 mg, or any range
  formulations described herein treat symptomatic congestive             derivable therein. In certain instances, the enalapril oral
  heart failure. In other instances, the enalapril oral liquid           liquid formulations described herein are provided in a dose
  formulations described herein treat asymptomatic left ven-             per day of about 1 mg. In certain instances, the enalapril oral
  tricular dysfunction. In further instances, the enalapril oral    25   liquid formulations described herein are provided in a dose
  liquid formulations described herein treat myocardial infarc-          per day of about 2 mg. In certain instances, the enalapril oral
  tion. In yet further instances, the enalapril oral liquid for-         liquid formulations described herein are provided in a dose
  mulations described herein treat diabetic nephropathy. In yet          per day of about 3 mg. In certain instances, the enalapril oral
  further instances, the enalapril oral liquid formulations              liquid formulations described herein are provided in a dose
  described herein treat chronic renal failure.                     30   per day of about 4 mg. In certain instances, the enalapril oral
  Dosing                                                                 liquid formulations described herein are provided in a dose
     In one aspect, the enalapril oral liquid formulations are           per day of about 5 mg. In certain instances, the enalapril oral
  used for the treatment of diseases and conditions described            liquid formulations described herein are provided in a dose
  herein. In addition, a method for treating any of the diseases         per day of about 6 mg. In certain instances, the enalapril oral
  or conditions described herein in a subject in need of such       35   liquid formulations described herein are provided in a dose
  treatment, involves administration of enalapril oral liquid            per day of about 7 mg. In certain instances, the enalapril oral
  formulations in therapeutically effective amounts to said              liquid formulations described herein are provided in a dose
  subject.                                                               per day of about 8 mg. In certain instances, the enalapril oral
     Dosages of enalapril oral liquid formulations described             liquid formulations described herein are provided in a dose
  can be determined by any suitable method. Maximum tol-            40   per day of about 9 mg. In certain instances, the enalapril oral
  erated doses (MTD) and maximum response doses (MRD)                    liquid formulations described herein are provided in a dose
  for enalapril and/or enalaprilat can be determined via estab-          per day of about 10 mg. In certain instances, the enalapril
  lished animal and human experimental protocols as well as              oral liquid formulations described herein are provided in a
  in the examples described herein. For example, toxicity and            dose per day of about 11 mg. In certain instances, the
  therapeutic efficacy of enalapril and/or enalaprilat can be       45   enalapril oral liquid formulations described herein are pro-
  determined by standard pharmaceutical procedures in cell               vided in a dose per day of about 12 mg. The dose per day
  cultures or experimental animals, including, but not limited           described herein can be given once per day or multiple times
  to, for determining the LD50 (the dose lethal to 50% of the            per day in the form of sub-doses given b.i.d., t.i.d., q.i.d., or
  population) and the ED50 (the dose therapeutically effective           the like where the number of sub-doses equal the dose per
  in 50% of the population). The dose ratio between the toxic       so   day.
  and therapeutic effects is the therapeutic index and it can be            In further embodiments, the daily dosages appropriate for
  expressed as the ratio between LD50 and ED50. Enalapril                the enalapril oral liquid formulations described herein are
  dosages exhibiting high therapeutic indices are of interest.           from about 0.01 to about 1.0 mg/kg per body weight. In one
  The data obtained from cell culture assays and animal                  embodiment, the daily dosages appropriate for the enalapril
  studies can be used in formulating a range of dosage for use      55   oral liquid formulations are from about 0.02 to about 0.8
  in human. The dosage of such compounds lies preferably                 mg/kg enalapril per body weight. In another embodiment,
  within a range of circulating concentrations that include the          the daily dosage appropriate for the enalapril oral liquid
  ED50 with minimal toxicity. The dosage may vary within                 formulations are from about 0.05 to about 0.6 mg/kg per
  this range depending upon the dosage form employed and                 body weight. In another embodiment, the daily dosage
  the route of administration utilized. Additional relative dos-    60   appropriate for the enalapril oral liquid formulations is about
  ages, represented as a percent of maximal response or of               0.05 mg/kg, about 0.06 mg/kg, about 0.07 mg/kg, about 0.08
  maximum tolerated dose, are readily obtained via the pro-              mg/kg, about 0.10 mg/kg, about 0.15 mg/kg, about 0.20
  tocols.                                                                mg/kg, about 0.25 mg/kg, about 0.30 mg/kg, about 0.40
     In some embodiments, the amount of a given enalapril                mg/kg, about 0.50 mg/kg, or about 0.60 mg/kg.
  oral liquid formulation that corresponds to such an amount        65      In other embodiments the enalapril oral liquid formula-
  varies depending upon factors such as the particular enal-             tions are provided at the maximum tolerated dose (MTD) for
  april salt or form, disease condition and its severity, the            enalapril and/or enalaprilat. In other embodiments, the
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  amount of the enalapril oral liquid formulations adminis-              10 days, 12 days, 15 days, 20 days, 28 days, 35 days, 50
  tered is from about 10% to about 90% of the maximum                    days, 70 days, 100 days, 120 days, 150 days, 180 days, 200
  tolerated dose (MTD), from about 25% to about 75% of the               days, 250 days, 280 days, 300 days, 320 days, 350 days, and
  MTD, or about 50% of the MTD. In particular embodiments,               365 days. The dose reduction during a drug holiday is, by
  the amount of the enalapril oral liquid formulations admin-       5    way of example only, by 10%-100%, including by way of
  istered is from about 5%, 10%, 15%, 20%, 25%, 30%, 35%,                example only 10%, 15%, 20%, 25%, 30%, 35%, 40%, 45%,
  40%, 45%, 50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%,                      50%, 55%, 60%, 65%, 70%, 75%, 80%, 85%, 90%, 95%,
  90%, 95%, 99%, or higher, or any range derivable therein,              and 100%.
  of the MTD for enalapril and/or enalaprilat.                              In some embodiments, enalapril oral liquid formulations
     In further embodiments, the enalapril oral liquid formu-       10   described herein are administered chronically. For example,
  lations are provided in a dosage that is similar, comparable           in some embodiments, an enalapril oral liquid formulation is
  or equivalent to a dosage of a known enalapril tablet                  administered as a continuous dose, i.e., administered daily to
  formulation. In other embodiments, the enalapril oral liquid           a subject. In some other embodiments, enalapril oral liquid
  formulations are provided in a dosage that provides a                  formulations described herein are administered intermit-
  similar, comparable or equivalent pharmacokinetic param-          15   tently (e.g. drug holiday that includes a period of time in
  eters (e.g., AUC,            m     m T1/2) as a dosage of a            which the formulation is not administered or is administered
  known enalapril tablet formulation. Similar, comparable or             in a reduced amount).
  equivalent pharmacokinetic parameters, in some instances,                 In some embodiments an enalapril oral liquid formulation
  refer to within 80% to 125%, 80% to 120%, 85% to 125%,                 is administered to a subject who is in a fasted state. A fasted
  90% to 110%, or increments therein, of the given values. It       20   state refers to a subject who has gone without food or fasted
  should be recognized that the ranges can, but need not be              for a certain period of time. General fasting periods include
  symmetrical, e.g., 85% to 105%.                                        at least 4 hours, at least 6 hours, at least 8 hours, at least 10
  Administration                                                         hours, at least 12 hours, at least 14 hours and at least 16
     Administration of an enalapril oral liquid formulation is at        hours without food. In some embodiments, an enalapril oral
  a dosage described herein or at other dose levels and             25   liquid formulation is administered orally to a subject who is
  formulations determined and contemplated by a medical                  in a fasted state for at least 8 hours. In other embodiments,
  practitioner. In certain embodiments, the enalapril oral liquid        an enalapril oral liquid formulation is administered to a
  formulations described herein are administered for prophy-             subject who is in a fasted state for at least 10 hours. In yet
  lactic and/or therapeutic treatments. In certain therapeutic           other embodiments, an enalapril oral liquid formulation is
  applications, the enalapril oral liquid formulations are          30   administered to a subject who is in a fasted state for at least
  administered to a patient already suffering from a disease,            12 hours. In other embodiments, an enalapril oral liquid
  e.g., hypertension, in an amount sufficient to cure the disease        formulation is administered to a subject who has fasted
  or at least partially arrest or ameliorate the symptoms, e.g.,         overnight.
  lower blood pressure. Amounts effective for this use depend               In other embodiments an enalapril oral liquid formulation
  on the severity of the disease, previous therapy, the patient's   35   is administered to a subject who is in a fed state. A fed state
  health status, weight, and response to the enalapril formu-            refers to a subject who has taken food or has had a meal. In
  lations, and the judgment of the treating physician. Thera-            certain embodiments, an enalapril oral liquid formulation is
  peutically effective amounts are optionally determined by              administered to a subject in a fed state 5 minutes post-meal,
  methods including, but not limited to, a dose escalation               10 minutes post-meal, 15 minutes post-meal, 20 minutes
  clinical trial.                                                   40   post-meal, 30 minutes post-meal, 40 minutes post-meal, 50
     In prophylactic applications, the enalapril oral liquid             minutes post-meal, 1 hour post-meal, or 2 hours post-meal.
  formulations described herein are administered to a patient            In certain instances, an enalapril oral liquid formulation is
  susceptible to or otherwise at risk of a particular disease,           administered to a subject in a fed state 30 minutes post-meal.
  e.g., hypertension. Such an amount is defined to be a                  In other instances, an enalapril oral liquid formulation is
  "prophylactically effective amount or dose." In this use, the     45   administered to a subject in a fed state 1 hour post-meal. In
  precise amounts also depend on the patient's state of health,          yet further embodiments, an enalapril oral liquid formula-
  weight, and the like. When used in a patient, effective                tion is administered to a subject with food.
  amounts for this use will depend on the risk or susceptibility            In further embodiments described herein, an enalapril oral
  of developing the particular disease, previous therapy, the            liquid formulation is administered at a certain time of day for
  patient's health status and response to the enalapril formu-      so   the entire administration period. For example, an enalapril
  lations, and the judgment of the treating physician.                   oral liquid formulation can be administered at a certain time
     In certain embodiments wherein the patient's condition              in the morning, in the evening, or prior to bed. In certain
  does not improve, upon the doctor's discretion the admin-              instances, an enalapril oral liquid formulation is adminis-
  istration of an enalapril oral liquid formulations described           tered in the morning. In other embodiments, an enalapril oral
  herein are administered chronically, that is, for an extended     55   liquid formulation can be administered at different times of
  period of time, including throughout the duration of the               the day for the entire administration period. For example, an
  patient's life in order to ameliorate or otherwise control or          enalapril oral liquid formulation can be administered on 8:00
  limit the symptoms of the patient's disease. In other embodi-          am in the morning for the first day, 12 pm noon for the next
  ments, administration of an enalapril oral liquid formulation          day or administration, 4 pm in the afternoon for the third day
  continues until complete or partial response of a disease.        60   or administration, and so on.
     In certain embodiments wherein a patient's status does              Further Combinations
  improve, the dose of an enalapril oral liquid formulation                 The treatment of certain diseases or conditions (e.g.,
  being administered may be temporarily reduced or tempo-                hypertension, heart failure, myocardial infarction and the
  rarily suspended for a certain length of time (i.e., a "drug           like) in a subject with an enalapril oral liquid formulation
  holiday"). In specific embodiments, the length of the drug        65   described herein encompass additional therapies and treat-
  holiday is between 2 days and 1 year, including by way of              ment regimens with other agents in some embodiments.
  example only, 2 days, 3 days, 4 days, 5 days, 6 days, 7 days,          Such additional therapies and treatment regimens can
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                                29                                                                30
  include another therapy, e.g., additional anti-hypertensives,      positively impacts the tissue to which it is targeted. Thus, as
  for treatment of the particular disease or condition in some       used herein, the term "administering", when used in con-
  embodiments. Alternatively, in other embodiments, addi-            junction with an enalapril formulation, can include, but is
  tional therapies and treatment regimens include other agents       not limited to, providing an enalapril formulation into or
  used to treat adjunct conditions associated with the disease     5 onto the target tissue; providing an enalapril formulation
  or condition or a side effect from the enalapril oral liquid       systemically to a patient by, e.g., oral administration
  formulation in the therapy.                                        whereby the therapeutic reaches the target tissue or cells.
     Additional agents for use in combination with an enalapril      "Administering" a formulation may be accomplished by
  oral liquid formulation described herein include, but are not      injection, topical administration, and oral administration or
  limited to, diuretics (loop, thiazide, potassium-sparing, and   10
                                                                     by other methods alone or in combination with other known
  the like), beta blockers (metoprolol, propanolol, pronethalol,     techniques.
  and the like), alpha blockers (phentolamine, phenoxyben-
                                                                        The term "animal" as used herein includes, but is not
  zamine, tamsulosin, prazosin, and the like), mixed alpha and
                                                                     limited to, humans and non-human vertebrates such as wild,
  beta blockers (bucindolol, carvedilol, labetalol), calcium
                                                                     domestic and farm animals. As used herein, the terms
  channel blockers (dihydropyridines such as nifedipine,          15
  amlodipine, etc., dilitazem, verapamil and the like), angio-       "patient," "subject" and "individual" are intended to include
  tensin II receptor antagonists (saralasin, lsartan, eprosartin,    living organisms in which certain conditions as described
  irbesartan, valsartan, and the like), other ACE inhibitors         herein can occur. Examples include humans, monkeys,
  (captopril, quinapril, ramipril, lisinopril, zofenopril, and the   cows, sheep, goats, dogs, cats, mice, rats, and transgenic
  like), aldosterone antagonists (eplerenone, spironolactone      20 species thereof. In a preferred embodiment, the patient is a
  and the like), vasodilators (hydralazine and the like) and         primate. In certain embodiments, the primate or subject is a
  alpha-2 agonists (clonidine, moxonidine, guanabenz and the         human. In certain instances, the human is an adult. In certain
  like).                                                             instances, the human is child. In further instances, the human
                                                                     is 12 years of age or younger. In certain instances, the human
                        Certain Definitions                       25 is elderly. In other instances, the human is 60 years of age
                                                                     or older. Other examples of subjects include experimental
     Unless defined otherwise, all technical and scientific          animals such as mice, rats, dogs, cats, goats, sheep, pigs, and
  terms used herein have the same meanings as commonly               cows. The experimental animal can be an animal model for
  understood by one of ordinary skill in the art. Although any       a disorder, e.g., a transgenic mouse with hypertensive
  methods and materials similar or equivalent to those 30 pathology. A patient can be a human suffering from hyper-
  described herein can be used in the practice or testing of
                                                                     tension, or its variants or etiological forms.
  embodiments described herein, certain preferred methods,
                                                                        By "pharmaceutically acceptable", it is meant the carrier,
  devices, and materials are now described.
                                                                     diluent or excipient must be compatible with the other
     As used herein and in the appended claims, the singular
  forms "a", "an", and "the" include plural reference unless 35 ingredients of the formulation and not deleterious to the
  the context clearly dictates otherwise. Thus, for example,         recipient thereof.
  reference to "an excipient" is a reference to one or more             The term "pharmaceutical composition" shall mean a
  excipients and equivalents thereof known to those skilled in       composition comprising at least one active ingredient,
  the art, and so forth.                                             whereby the composition is amenable to investigation for a
     The term "about" is used to indicate that a value includes 40 specified, efficacious outcome in a mammal (for example,
  the standard level of error for the device or method being         without limitation, a human). Those of ordinary skill in the
  employed to determine the value. The use of the term "or"          art will understand and appreciate the techniques appropriate
  in the claims is used to mean "and/or" unless explicitly           for determining whether an active ingredient has a desired
  indicated to refer to alternatives only or the alternatives are    efficacious outcome based upon the needs of the artisan.
  mutually exclusive, although the disclosure supports a defi- 45       A "therapeutically effective amount" or "effective
  nition that refers to only alternatives and to "and/or." The       amount" as used herein refers to the amount of active
  terms "comprise," "have" and "include" are open-ended              compound or pharmaceutical agent that elicits a biological
  linking verbs. Any forms or tenses of one or more of these         or medicinal response in a tissue, system, animal, individual
  verbs, such as "comprises," "comprising," "has," "having,"         or human that is being sought by a researcher, veterinarian,
  "includes" and "including," are also open-ended. For so medical doctor or other clinician, which includes one or
  example, any method that "comprises," "has" or "includes"          more of the following: (1) preventing the disease; for
  one or more steps is not limited to possessing only those one      example, preventing a disease, condition or disorder in an
  or more steps and also covers other unlisted steps.                individual that may be predisposed to the disease, condition
     "Optional" or "optionally" may be taken to mean that the        or disorder but does not yet experience or display the
  subsequently described structure, event or circumstance may 55 pathology or symptomatology of the disease, (2) inhibiting
  or may not occur, and that the description includes instances      the disease; for example, inhibiting a disease, condition or
  where the events occurs and instances where it does not.           disorder in an individual that is experiencing or displaying
     As used herein, the term "therapeutic" means an agent           the pathology or symptomatology of the disease, condition
  utilized to treat, combat, ameliorate, prevent or improve an       or disorder (i.e., arresting further development of the pathol-
  unwanted condition or disease of a patient. In some embodi- 60 ogy and/or symptomatology), and (3) ameliorating the dis-
  ments, a therapeutic agent such as enalapril is directed to the    ease; for example, ameliorating a disease, condition or
  treatment and/or the amelioration of, reversal of, or stabili-     disorder in an individual that is experiencing or displaying
  zation of the symptoms of hypertension described herein.           the pathology or symptomatology of the disease, condition
     "Administering" when used in conjunction with a thera-          or disorder (i.e., reversing the pathology and/or symptoma-
  peutic means to administer a therapeutic systemically or 65 tology). As such, a non-limiting example of a "therapeuti-
  locally, as directly into or onto a target tissue, or to admin-    cally effective amount" or "effective amount" of a formu-
  ister a therapeutic to a patient whereby the therapeutic           lation of the present disclosure may be used to inhibit, block,
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                                        31                                                                                       32
  or reverse the activation, migration, or proliferation of cells                                                          TABLE A-2
  or to effectively treat hypertension or ameliorate the symp-
  toms of hypertension.                                                                                Primary Degradants Present in the Formulations
                                                                                                               (% w/w of enalapril maleate)
     The terms "treat," "treated," "treatment," or "treating" as
  used herein refers to both therapeutic treatment in some                        5       Hours at                                  Formulation
  embodiments and prophylactic or preventative measures in
                                                                                            60° C.          Al         A2           A3            A4        A5         A6
  other embodiments, wherein the object is to prevent or slow
  (lessen) an undesired physiological condition, disorder or                                                        Enalapril Diketopiperazine
  disease, or to obtain beneficial or desired clinical results. For
                                                                                  10           0            0.04       0.03         0.03          0.03     0.03        0.03
  the purposes described herein, beneficial or desired clinical                               97            3.10       0.88         0.33          0.86     0.70        0.53
  results include, but are not limited to, alleviation of symp-                              180            6.21       1.77         0.75          1.73     1.43        1.07
  toms; diminishment of the extent of the condition, disorder                                                                 Enalaprilat

  or disease; stabilization (i.e., not worsening) of the state of                              0            0.09       0.15         0.29          0.14      0.16       0.12
  the condition, disorder or disease; delay in onset or slowing                   15          97            5.20      16.9         47.4          16.1      20.3       15.6
  of the progression of the condition, disorder or disease;                                  180            9.94      34.8        113            33.5      42.2       31.7
  amelioration of the condition, disorder or disease state; and
  remission (whether partial or total), whether detectable or
  undetectable, or enhancement or improvement of the con-
  dition, disorder or disease. Treatment includes eliciting a                     20        Example B: Effect of Buffer Concentration on the
  clinically significant response without excessive levels of                               Formation of Degradants in Enalapril Formulations
  side effects. Treatment also includes prolonging survival as                                                 at 60° C.
  compared to expected survival if not receiving treatment. A
  prophylactic benefit of treatment includes prevention of a
                                                                                          Formulations were prepared containing enalapril maleate
  condition, retarding the progress of a condition, stabilization
                                                                                  25   according to Table B-1. The pH of each solution was
  of a condition, or decreasing the likelihood of occurrence of
  a condition. As used herein, "treat," "treated," "treatment,"                        measured and adjusted as needed to pH 3.3 with —1N HC1
  or "treating" includes prophylaxis in some embodiments.                              or —0.5N NaOH. Five milliliters of each formulation were
                                                                                       transferred to each of six 3-dram glass screw-capped vials
                                EXAMPLES                                               with Teflon inserts in the caps. The vials were placed into a
                                                                                  30
                                                                                       60° C. heating chamber then two vials were removed and
          Example A: Effect of pH on the Formation of                                  analyzed by HPLC at times of zero, —66 and —139 hours.
          Degradants in Enalapril Formulations at 60° C.
                                                                                                                           TABLE B-1
     Formulations were prepared containing enalapril maleate                      35            Formulation (in mg/mL) of Enalapril Maleate Formulations
  according to Table A-1. The pH of each solution was
                                                                                                         at Varying Citrate Buffer Concentrations
  recorded. Five milliliters of each formulation were trans-
  ferred to each of four 3-dram glass screw-capped vials with                                                                                    Formulation
  Teflon inserts in the caps. The vials were placed into a 60°
                                                                                                                                Bl (5 mM         B2 (10 mM     B3 (20 mM
  C. heating chamber then one vial removed and analyzed by                        40 Component                                   citrate)          citrate)      citrate)
  HPLC at times of zero, —97 and —180 hours.
                                                                                     Enalapril maleate                             1.0              1.0            1.0
                                                                                     Citric acid, anhydrous                        0.82             1.65           3.29
                                TABLE A-1
                                                                                     Sodium citrate, anhydrous                     0.19             0.38           0.75
                                                                                     Sodium benzoate                               1.0              1.0            1.0
                Formulation (in mg/mL) of Enalapril Formulations
                 at Varying pH and Citrate Buffer Concentration                   45 Sucralose                                     0.7              0.7            0.7
                                                                                     Mixed berry flavor (powdered)                 0.5              0.5            0.5
                                                                                     Water                                          qs               qs             qs
                                          Formulation (mM citrate)
                                                                                     pH                                            3.3              3.3            3.3
                                  Al      A2         A3      A4      A5     A6
                                                                                       qs = sufficient quantity
  Component                      (50)    (50)       (50)    (50)    (50)   (25)
                                                                                  50
  Enalapril maleate              1.0      1.0        1.0     1.0     1.0   1.0           The results of the HPLC analysis for the two main
  Mannitol                      50       50         50              50     6.0
  Xylitol                                                   50
                                                                                       degradants in the samples, enalapril diketopiperazine and
  Citric acid, anhydrous         7.35     5.05       2.55    5.05    5.05 2.76         enalaprilat, are provided in Table B-2.
  Sodium citrate, dihydrate      3.45     7.0       10.8     7.0     7.0 3.15
  Sodium benzoate                1        1          1       1       1
                                                                                  55                                       TABLE B-2
  Methylparaben sodium                                               1.75 0.335
  Propylparaben sodium                                                    0.095                        Primary Degradants Present in the Formulations
  Potassium sorbate                                                       1                                    (% w/w of enalapril maleate)
  Sucralose                       0.75       0.75    0.75    0.75    0.75 0.75
  Silicon dioxide                                                         0.075
                                                                                                                                      Formulation
  Mixed berry flavor              0.5        0.5     0.5     0.5     0.5 0.5
  (powdered)                                                                      60
                                                                                               Hours at           Bl (5 mM          B2 (10 mM              B3 (20 mM
  Water                           qs         qs      qs      qs      qs      qs
                                                                                                60° C.             citrate)           citrate)               citrate)
  pH                              3.4        4.4     5.2     4.4     4.5   4.4
                                                                                                                    Enalapril Diketopiperazine
  qs = sufficient quant   ty
                                                                                                   0                0.01                  0.01                 0.01
    The results of the HPLC analysis for the two main                             65              66                1.57                  1.63                 1.79
  degradants in the samples, enalapril diketopiperazine and                                      139                3.70                  3.94                 4.24
  enalaprilat, are provided in Table A-2.
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                                             33                                                                                             34
                           TABLE B-2-continued                                                                          TABLE C-1-continued
                 Primary Degradants Present in the Formulations                                                 Composition of Enalapril Maleate Formulations
                         (% w/w of enalapril maleate)
                                                                                                  Component                        Cl            C2     C3          C4          C5
                                                  Formulation                                5
                                                                                                Sodium methylparaben              0.34       0.34       1.00        1.00        1.00
         Hours at       B1 (5 mM               B2 (10 mM                B3 (20 mM               Sodium propylparaben              0.09       0.09       1.00
          60° C.         citrate)                citrate)                 citrate)              Potassium sorbate                 1.00       1.00
                                                                                                Sodium benzoate                                         1.00        1.00        1.00
                                        Enalaprilat                                             Xanthan Gum                                                                     0.75
                                                                                             10 Colloidal silicon dioxide         0.07       0.07       0.50                    0.50
             0                0.00                     0.00                  0.00               Sucralose                         0.75       0.75       0.75        0.75        0.75
            66                2.98                     2.88                  3.19               Mixed berry flavor                0.50       0.50       0.50        0.50        0.50
           139                5.28                     5.23                  5.69               pH (measured)                     4.4        3.8        3.7         4.4         4.6



                                                                                             15     The results of the HPLC analysis for the diketopiperazine
           Example C: Stability of Enalapril Maleate                                              and enalaprilat degradants in the samples are provided in
         Formulations Containing Paraben Preservatives                                            Table C-2.

     Powder formulations were prepared according to Table                                                                         TABLE C-2
                                                                                             20
  C-1. All components in each formulation except mannitol or
                                                                                                        Degradant Content After Storage (% w/w of enalapril maleate)
  xylitol were added to a 2.5 liter polypropylene screw capped
  bottle. The bottle was mixed by inversion in a Turbula®                                                                       Storage                   Formulation
  mixer for 5 minutes. The mannitol or xylitol was then added
  and the components mixed for 5 minutes, then the other half                                                            ° C.      Weeks          Cl   C2      C3          C4    CS

  of the mannitol or xylitol was added and a final mix of 5                                  25                                 Liquid Formulations
  minutes was completed.
     One liter of solution formulation was prepared for each                                      Diketopiperazine          5           0         0.03 0.04 0.04 0.02 0.02
                                                                                                                                        4         0.02 0.03 0.03 0.03 0.02
  formulation by adding an appropriate amount of each pow-                                                                              8         0.03 0.04 0.04
  dered formulation to a 1 liter volumetric flask and adding                                                            19-23           0         0.03 0.04 0.04 0.02 0.02
  about 500 mL water. The powder was dissolved with mixing                                   30                                         4         0.05 0.09 0.11 0.05 0.04
  then the contents of the flask were brought to 1 liter with                                                                           8         0.08 0.17 0.19
                                                                                                                         40             0         0.03 0.04 0.04 0.02 0.02
  additional water. The amount of powder to add was deter-                                                                              4         0.35 0.91 1.10 0.31 0.21
  mined such that the final concentration of enalapril maleate                                                                          8         0.65 1.80 2.05
  was 1.0 mg/mL. Fifty milliliter aliquots of each formulation                                    Enalaprilat               5           0         0.18 0.14 0.12 0.13 0.19
                                                                                             35                                         4         0.18 0.15 0.12 0.43 0.53
  were placed into HDPE bottles. The bottles were screw-
                                                                                                                                                  0.55 0.38 0.34
  capped and placed into storage at 5° C. 3° C., at room                                                                19-23           0         0.18 0.14 0.12 0.13 0.19
  temperature (19-23° C.) and at 40° C. 2° C. At various times,                                                                         4         1.35 0.83 0.80 1.75 2.29
  bottles were removed from the storage condition and ana-                                                                              8         3.34 2.06 1.98
  lyzed.                                                                                                                 40             0         0.18 0.14 0.12 0.13 0.19
                                                                                             40                                         4        10.49 6.08 6.11 12.30 16.14
                                                                                                                                        8        24.37 14.12 14.22
                                     TABLE C-1
                 Composition of Enalapril Maleate Formulations

  Component                           Cl          C2           C3       C4           C5      45            Example D: Stability of Enalapril Maleate
                                                                                                         Formulations Containing Benzoate Preservative
                           Powder Formulation (grams)

  Enalapril maleate                  12.3     12.3              8.86     2.16         2.16
                                                                                                     Powder formulations were prepared according to Table
  Mannitol                           74.4     74.4            394.0
  xylitol                                                               96.6        93.7          D-1. All components in each formulation except enalapril
  Citric acid, anhydrous         28.6         35.6             28.4      5.40        5.40    50   maleate and mannitol or xylitol were blended with a mortar
  Sodium citrate,                24.5         14.7              7.73     4.10        4.10         and pestle. The enalapril maleate was then triturated with the
  anhydrous
  Sodium methylparaben                4.17     4.17             8.86     2.16         2.16        blend. The xylitol or mannitol was then triturated into the
  Sodium propylparaben                1.10     1.10                                               blend using a geometric dilution technique.
  Potassium sorbate                  12.3     12.3
  Sodium benzoate                                               8.86     2.16         2.16   55   One liter of solution formulation was prepared for each
  Xanthan Gum                                                                         1.62        formulation by adding an appropriate amount of each pow-
  Colloidal silicon dioxide           0.859       0.859         4.43                  1.08        dered formulation to a 1 liter volumetric flask and adding
  Sucralose                           9.20        9.20          6.64     1.62         1.62
  Mixed berry flavor                  6.13        6.13          4.43     1.08         1.08        about 500 mL water. The powder was dissolved with mixing
                                                                                                  then the contents of the flask were brought to 1 liter with
  Total solids                  173.5   170.7     472.3                115.2        115.2    60   additional water. The amount of powder to add was deter-
                           Liquid Formulations (mg/mL)
                                                                                                  mined such that the final concentration of enalapril maleate
  Enalapril maleate                   1.00        1.00          1.00     1.00         1.00        was 1.0 mg/mL. Fifty milliliter aliquots of each formulation
  Mannitol                            6.07        6.07         44.5                               were placed into HDPE bottles. The bottles were screw-
  xylitol                                                               44.7        43.4          capped and placed into storage at 5° C. 3° C., at room
  Citric acid, anhydrous              2.33        2.90          3.21     2.50        2.50
  Sodium citrate,                     2.00        1.20          0.87     1.90        1.90
                                                                                             65   temperature (19-23° C.) and at 40° C. 2° C. At various times,
  anhydrous                                                                                       bottles were removed from the storage condition and ana-
                                                                                                  lyzed.
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                                                                          US 11,040,023 B2
                                        35                                                                                               36
                                                   TABLE D-1
                                 Composition of Enalapril Maleate Formulations

  Component                                             D1           D2         D3       D4           D5          D6

                                           Powder Formulation (grams)

  Enalapril maleate                                   3.63         3.63          3.63     3.63         8.86        2.16
  Xylitol                                           537.2        176.1                  537.2
  Mannitol                                                                     319.4                401.2        98.9
  Citric acid, anhydrous                                11.9      11.9          11.9     10.4        26.6         6.48
  Sodium citrate, anhydrous                              2.72      2.72          2.72     4.86       11.3         2.76
  Sodium benzoate                                        3.63      3.63          3.63     3.63        8.86        2.16
  Rebalance X60 (sucralose and maltodextrin)                      10.9
  Sucralose                                                                                            6.64        1.62
  Saccharin sodium                                                               7.26
  Colloidal silicon dioxide                                                                            4.43
  Mixed berry flavor                                     1.82        1.82        1.82        1.82      4.43        1.08

  Total solids                                       561      211     350.              561         472.3       115.2
                                           Liquid Formulations (mg/mL)

  Enalapril maleate                                      1.00      1.00          1.00     1.00         1.00        1.00
  Xylitol                                              148.0      48.5                  148.0
  Mannitol                                                                      88.0                 45.3        45.8
  Citric acid, anhydrous                                 3.29        3.29        3.29     2.85        3.00        3.00
  Sodium citrate, anhydrous                              0.75        0.75        0.75     1.34        1.28        1.28
  Sodium benzoate                                        1.00        1.00        1.00     1.00        1.00        1.00
  Rebalance X60 (sucralose and maltodextrin)                         3.00
  Sucralose                                                                                            0.75        0.75
  Saccharin sodium                                                               2.00
  Colloidal silicon dioxide                                                                            0.50
  Mixed berry flavor                                     0.50        0.50        0.50     0.50         0.50        0.50
  pH (measured)                                          3.2         3.2         3.4      3.7          3.6         3.6




    The results of the HPLC analysis for the diketopiperazine                                                             TABLE D-2-continued
  and enalaprilat degradants in the samples are provided in
  Table D-2.                                                                                         Degradant Content After Storage (% w/w of enalapril maleate)

                                                                                        35                           Storage                              Formulation
                                   TABLE D-2
                                                                                                                 ° C.     Weeks         Dl         D2      D3     D4     D5     D6
        Degradant Content After Storage (% w/w of enalapril maleate)
                                                                                                                           12          11.01 10.64 11.41 16.16
                       Storage                      Formulation                                                            26          17.18 17.11 18.30 27.36
                                                                                        40
                 ° C.     Weeks       Dl      D2       D3       D4        D5     D6

                                 Liquid Formulations
                                                                                                     Example E: Stability of Solution Formulations of
  Diketopi-        5         0        0.04 0.02 0.03 0.03 0.04 0.04                                                Enalapril Maleate
  perazine                   4        0.07 0.03 0.05 0.05 0.03
                             8        0.11 0.06 0.08 0.08 0.05                          45
                            12        0.08 0.04 0.06 0.06                                       Solution formulations were prepared according to Table
                            26        0.11 0.07 0.09 0.07
                                                                                              E-1. Thirty milliliter aliquots of each formulation were
                 19-23       0        0.04 0.02 0.03 0.03 0.04 0.04
                             4        0.27 0.21 0.24 0.16 0.12 0.12                           placed into HDPE bottles. The bottles were screw-capped
                             8        0.50 0.41 0.47 0.30 0.21 0.22                           and placed into storage at 5° C.±3° C., at room temperature
                            12        0.62 0.52 0.58 0.35                               50    (19-23° C.) and at 40° C.±2° C. At various times, bottles
                            26        1.39 1.20 1.33 0.76
                                                                                              were removed from the storage condition and analyzed.
                  40         0        0.04 0.02 0.03 0.03 0.04 0.04
                             4        2.87 2.32 2.73 1.57 1.21 1.13
                             8        5.13 4.42 5.44 2.97 2.23 2.16
                            12        6.86 5.90 6.90 3.91                                               Composition of Enalapril Maleate Formulations (mg/mL)
                            26       13.63 12.18 13.56 7.74                             55
  Enalaprilat      5         0        0.03 0.02 0.03 0.03 0.13 0.14                           Component                        El            E2         E3       E4      E5     E6
                             4        0.15 0.12 0.06 0.17 0.13
                             8        0.22 0.19 0.22 0.27 0.34                             Enalapril maleate                 1.00          1.00         1.00      1.00   1.00   1.00
                                                                                           Xylitol                         150           200                    150
                            12        0.20 0.17 0.19 0.22
                                                                                           Citric acid anhydrous             3.29          3.29         3.29      3.29   1.65   0.82
                             8        0.32 0.30 0.30 0.39
                                                                                           Sodium citrate                    0.75          0.75         0.75      0.75   0.38   0.19
                 19-23       0        0.03 0.02 0.03 0.03 0.13 0.14                     60
                                                                                           anhydrous
                             4        0.69 0.66 0.69 0.86 0.74 0.76                        Sodium benzoate                      1.00         1.00       1.00      1.00   1.00   1.00
                             8        1.38 1.33 1.41 1.68 1.83 1.82                        Sucralose                                                    0.70             0.70   0.70
                            12        1.71 1.68 1.73 2.15                                  Mixed berry flavor                   0.50                    0.50      0.50   0.50   0.50
                            26        3.63 3.61 3.59 4.55                                  Water                                qs           qs          qs       qs      qs     qs
                  40         0        0.03 0.02 0.03 0.03 0.13 0.14                        pH (measured)                        3.3          3.3        3.3       3.4    3.3    3.3
                             4        4.76 4.42 4.76 6.45 5.55 5.24                     65
                             8        8.95 8.64 9.61 12.94 12.73 12.18                        qs = sufficient quantity
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                                    37                                                                                  38
    The results of the HPLC analysis for the diketopiperazine                                                      TABLE G-1
  and enalaprilat degradants in the samples are provided in
  Table E-2.                                                                                             Formulation and AET Testing Results

                                                                                                                                     Formulation
                                 TABLE E-2                                    5
                                                                                                                     G1        G2         G3         G4      G5
        Degradant Content After Storage (% w/w of enalapril maleate)
                                                                                                                Formulation (mg/mL)
                       Storage                   Formulation
                                                                                 Enalapril maleate                   1.00      1.00      1.00        1.00   1.00
                 ° C.     Weeks    El     E2     E3     E4     E5      E6     10 Xylitol                           150       150       150         150
                                                                                 Sucralose                                                            0.70
  Diketopi-        5         0     0.01   0.01   0.01   0.01   0.01    0.01      Citric acid, anhydrous              1.64      1.64       1.64  1.64 1.80
  perazine                   4     0.04   0.04   0.05   0.04   0.03    0.03      Sodium citrate, anhydrous           0.322     0.322      0.322 0.322
                             8     0.04   0.04   0.04   0.04   0.03    0.03      Sodium citrate, dihydrate                                            0.165
                            12     0.05   0.05   0.04   0.05   0.04    0.04      Sodium benzoate                     1.00    0.80      0.60     0.40 1.0
                            26     0.07   0.06   0.05   0.06   0.05    0.05      Mixed belly flavor                  0.50    0.50      0.50     0.50 0.50
                                                                              15
                            52                                 0.15    0.14      Water                               q.s.    q.s.      q.s.     q.s.   q.s.
                            62     0.18   0.18   0.16   0.14                     HCl/NaOH                                   as need to achieve pH
                19-23        0     0.01   0.01   0.01   0.01   0.01    0.01      Measured pH                         3.3     3.3       3.3      3.3   3.3
                             4     0.22   0.23   0.21   0.20   0.16    0.15                                         AET Results
                             8     0.35   0.35   0.32   0.31   0.29    0.28
                            12     0.58   0.59   0.53   0.51   0.48    0.45        USP <51>                          Pass     Pass       Pass       Pass    Pass
                            26     1.10   1.10   1.00   0.95   0.97    0.92   20
                            52                                 2.30    2.15        qs = sufficient quantity
                            62     3.02   3.04   2.75   2.64
                  40         0     0.01   0.01   0.01   0.01   0.01    0.01
                             4     2.65   2.71   2.60   2.42   1.76    1.68             Example H: Clinical Trial: Bioavailability Study of
                             8     4.02   3.99   3.99   3.62   3.37    3.13
                            12     6.72   6.42   6.47   6.00   5.53    5.29   25        10 mg Enalapril Maleate Oral Solution Vs. 10 mg
  Enalaprilat                0     0.00   0.00   0.01   0.02   0.00    0.00             Epaned® Powder for Oral Solution (Reconstituted)
                             4     0.07   0.09   0.10   0.11   0.07    0.08                        Under Fasted Conditions
                             8     0.12   0.14   0.10   0.13   0.09    0.08
                            12     0.16   0.15   0.15   0.17   0.14    0.11
                            26     0.31   0.30   0.29   0.31   0.27    0.24         The objective of this open-label, randomized, two-period,
                            52                                 0.54    0.46   3o two-treatment, two-way crossover study was to compare the
                            62     0.75   0.75   0.74   0.71                     oral bioavailability of a test formulation of 10 mL of
                19-23        0     0.00   0.00   0.01   0.02   0.00    0.00
                             4     0.65   0.65   0.68   0.70   0.50    0.46      enalapril maleate oral solution, 1 mg/mL (formulation E-5),
                             8     1.17   1.19   1.20   1.23   1.03    0.95      to an equivalent oral dose of the commercially available
                            12     1.67   1.69   1.72   1.80   1.30    1.21      comparator product, Epaned® (enalapril maleate) Powder
                            26     3.36   3.38   3.42   3.57   3.07    2.90   35 for Oral Solution, 1 mg/mL, when administered under fasted
                            52                                 6.32    5.88
                                                                                 conditions in healthy adults.
                            62     7.99 8.02 8.04 8.57
                  40         0     0.00 0.00 0.01 0.02         0.00    0.00         Study design: Thirty-two healthy adult subjects received
                             4     4.85 4.93 5.19 5.42         3.33    3.25      a single 10 mL dose of enalapril maleate oral solution, 1
                             8     8.08 8.06 8.56 9.01         6.65    6.35      mg/mL, formulation E-5 (Treatment A), in one period and a
                            12    10.70 10.48 11.01 11.97      8.14    7.96   40 separate single dose of Epaned Powder for Oral Solution
                                                                                 (reconstituted with the supplied Ora-Sweet SF), 1 mg/mL
                                                                                 (Treatment B) in another period. Each treatment was admin-
                                                                                 istered after an overnight fast of at least 10 hours, followed
         Example F: Effect of pH on the Formation of                             by a 4-hour fast postdose. Each treatment was administered
       Degradants in Enalapril Formulations at 5° C. and                      45 via a 10 mL oral dosing syringe and followed with 240 mL
                          19-23° C.                                              of room temperature tap water. Each drug administration
                                                                                 was separated by a washout period of at least 7 days.
     The content of enalapril diketopiperazine and enalaprilat                      During each study period, meals were the same and
                                                                                 scheduled at approximately the same times relative to dose.
  that were formed after 8 weeks of storage for formulations
                                                                              so In addition, during each period, blood samples were
  Cl -C3 and D1 -D5 are plotted in FIG. 1 (5° C.±3° C.) and
                                                                                 obtained prior to and following each dose at selected times
  FIG. 2 (19-23° C. storage). These formulations all contained
                                                                                 through 72 hours postdose. Pharmacokinetic samples were
  20 mM total citrate buffer content, but with varying pH. The                   analyzed for enalapril and its metabolite enalaprilat using a
  general effects of formulation pH on the formation of the                      validated analytical method; appropriate pharmacokinetic
  two main enalapril degradants are shown.                                    55 parameters were calculated for each formulation using non-
                                                                                 compartmental methods. Blood was also drawn and urine
       Example G: Antimicrobial Effectiveness Testing of                         collected for clinical laboratory testing at screening and at
          Enalapril Maleate Formulations at pH 3.3                               the end of the study.
                                                                                    Statistical Methods: The concentration-time data were
                                                                              60 analyzed using noncompartmental methods in PhoenixTM
     Enalapril formulations were prepared containing differing                   WinNonlin® (Version 6.3, Pharsight Corporation). Concen-
  amounts of the antimicrobial preservative, sodium benzoate.                    tration-time data that were below the limit of quantitation
  The formulations were then tested for antimicrobial effec-                     (BLQ) were treated as zero in the data summarization and
  tiveness (AET) according to the procedures in the 2014                         descriptive statistics. In the pharmacokinetic analysis, BLQ
  United States Pharmacopeia 37, Chapter <51> for category                    65 concentrations were treated as zero from time-zero up to the
  3 products. The formulation of the formulations and the AET                    time at which the first quantifiable concentration was
  results are included in Table G-1.                                             observed; embedded and/or terminal BLQ concentrations
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                                39                                                                      40
  were treated as "missing". Actual sample times were used                   4. The stable oral liquid formulation of claim 1, wherein
  for all pharmacokinetic and statistical analyses. Analysis of           the formulation maintains a pH between about 3 and about
  variance (ANOVA) and the Schuirmann's two one-sided                     4 for at least 3 months at about 5±3° C.
  t-test procedures at the 5% significance level were applied to             5. The stable oral liquid formulation of claim 1, wherein
  the log-transformed pharmacokinetic exposure parameters,           5    the formulation maintains a pH between about 3 and about
  Cm„, AUCz„,, and AUC,,j. The 90% confidence interval for                4 for at least 12 months at about 5±3° C.
  the ratio of the geometric means (Test/Reference) was                      6. The stable oral liquid formulation of claim 1, wherein
  calculated. Bioequivalence was declared if the lower and                the sweetener is sucralose.
  upper confidence intervals (CIs) of the log-transformed                    7. The stable oral liquid formulation of claim 6, wherein
  parameters were within 80% to 125% for enalapril and               10   the sucralose is present in about 0.5 mg/ml to about 0.9
  enalaprilat.                                                            mg/ml in the oral liquid formulation.
     Results: A total of 32 subjects participated in the study and           8. The stable oral liquid formulation of claim 1, wherein
  29 of these subjects completed both study periods. Based on             the sweetener is saccharin or a salt thereof
  the geometric mean ratios of enalapril and enalaprilat AUCs                9. The stable oral liquid formulation of claim 8, wherein
  (AUCz„, and AUC,,j), the bioavailability of the enalapril          15   the saccharin or a salt thereof is present at about 2 mg/ml in
  maleate oral solution (formulation E-5) relative to the                 the oral liquid formulation.
  Epaned Powder for Oral Solution (reconstituted) was                       10. The stable oral liquid formulation of claim 1, com-
  approximately 105% to 110%. The geometric mean ratios of                prising a flavoring agent.
  enalapril and enalaprilat C,,, were approximately 115% and                11. The stable oral liquid formulation of claim 1, wherein
  1090, respectively. The 90% CI for comparing the maximum           20   the enalapril or a pharmaceutically acceptable salt or solvate
  exposure to enalapril and enalaprilat, based on in (C,,,„),             thereof functions as a buffer.
  was within the accepted 80% to 125% limits. The 90% CIs                   12. The stable oral liquid formulation of claim 1, wherein
  for comparing total systemic exposure to enalapril and                  the enalapril or a pharmaceutically acceptable salt or solvate
  enalaprilat, based on in (AUCz„,) and in (AUC,,j), was                  thereof is present at about 1.0 mg/ml in the oral liquid
  within the accepted 80% to 125% limits. Therefore, the test        25   formulation.
  formulation of enalapril maleate oral solution, 1 mg/mL, is               13. The stable oral liquid formulation of claim 1, wherein
  bioequivalent to the reference product, Epaned Powder for               the preservative is a mixture of parabens.
  Oral Solution (reconstituted), 1 mg/mL, under fasted con-                 14. The stable oral liquid formulation of claim 1, wherein
  ditions.                                                                the paraben or the mixture of parabens is methylparaben,
     While preferred embodiments of the present invention            30   ethylparaben, propylparaben, butylparaben, salts thereof, or
  have been shown and described herein, it will be obvious to             a combination thereof.
  those skilled in the art that such embodiments are provided               15. The stable oral liquid formulation of claim 1, wherein
  by way of example only. Numerous variations, changes, and               the mixture of parabens comprises methylparaben and pro-
  substitutions will now occur to those skilled in the art                pylparaben.
  without departing from the invention. It should be under-          35     16. The stable oral liquid formulation of claim 1, wherein
  stood that various alternatives to the embodiments of the               the paraben or the mixture of parabens is present at about 0.1
  invention described herein may be employed in practicing                mg/ml to about 2 mg/ml in the oral liquid formulation.
  the invention. It is intended that the following claims define            17. The stable oral liquid formulation of claim 1, wherein
  the scope of the invention and that methods and structures              the preservative comprises sodium benzoate.
  within the scope of these claims and their equivalents be          40     18. The stable oral liquid formulation of claim 17,
  covered thereby.                                                        wherein the sodium benzoate is present at about 0.2 mg/ml
     What is claimed is:                                                  to about 1.2 mg/ml in the oral liquid formulation.
     1. A stable oral liquid formulation, consisting essentially            19. The stable oral liquid formulation of claim 1, consist-
  of:                                                                     ing essentially of:
     (i) about 0.6 to about 1.2 mg/ml enalapril or a pharma-         45      (i) about 1.0 mg/ml enalapril or a pharmaceutically
        ceutically acceptable salt or solvate thereof;                          acceptable salt or solvate thereof;
     (ii) a sweetener;                                                       (ii) a sweetener that is sucralose or sodium saccharin;
     (iii) a preservative, wherein the preservative comprises                (iii) a preservative, wherein the preservative comprises a
        sodium benzoate, a paraben or a mixture of parabens;                    mixture of parabens that is present at about 0.1 mg/ml
     (iv) water; and                                                 50         to about 2 mg/ml in the oral liquid formulation;
     (v) optionally a flavoring agent;                                       (iv) water; and
     wherein the formulation is stable at about 5±3° C. for at               (v) optionally a flavoring agent.
        least 12 months; and                                                 20. The stable oral liquid formulation of claim 1, consist-
     wherein the stable oral liquid formulation has about 95%             ing essentially of:
        w/w or greater of the initial enalapril amount and about     55      (i) about 1.0 mg/ml enalapril or a pharmaceutically
        5% w/w or less total impurity or related substances at                  acceptable salt or solvate thereof;
        the end of the given storage period.                                 (ii) a sweetener that is sucralose or sodium saccharin;
     2. The stable oral liquid formulation of claim 1, wherein               (iii) a preservative, wherein the preservative comprises
  the formulation is stable at about 5±3° C. for at least 18                    sodium benzoate that is present at about 0.2 mg/ml to
  months.                                                            60         about 1.2 mg/ml in the oral liquid formulation;
     3. The stable oral liquid formulation of claim 1, wherein               (iv) water; and
  the formulation is stable at about 5±3° C. for at least 24                 (v) optionally a flavoring agent.
  months.                                                                                       *   *   *    *
